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Case 2:10-cv-00939-HGB-SS Document 1 Filed 03/22/10 Page 1 of 64

UNITED STA”[ES DISTRICT COURT EASTERN DISTRICT OF L()UISIANA 3 9 s
v» V' q

DONALD G. J()NES CASE DOCKET NO: _ 0

VS. SECTION: sECT¢ 3 MAG¢ 1

FIRST BANK & TRUST CO. ET AL JURY TRIAL DEMAND -3 JUDGE

PANEL DEMAND
TR| ICT COURT

. . 3
AND ITS BOARD oF DIRECTQRS EASTERN DssTchT op LOU,S,AN
JOSEPH CANIZARO J. KENNETH EDOUX A

J. MICHAEL BROWN _PATRICK OR 15~'1€50 MAR 2 2 281{]

      
    
  
 
 

 

 

 

 

STEPI-[EN DICK]E DESIREE

LORE
FIRST BANK & TRUST c<)MMUNITY FIRST BA cENTER 001%§;( WHYTE

DEVELOPMENT CORPORATION, ET AL PROPERTIE , . .,

 

STIRLING RESIDENTIAL,I`NC.-D.B.A. SUSAN CAMPBELL
ERA STERLING PROPERTIES, ET Al

BRIAN SCHWEDA -D.B.A. QUICK RECOVERY AUTO SALVAGE, Et al & PERSONALLY

LOUIS[ANA SUPREME COURT, ET AL LGUISIANA LEGISLA'I'URE ET AL

LOUIS[ANA 4TH & STH CIRCUIT COURT OF APPEALS,ET AL GOVERNOR_ BOBBY Jl'NDAL ET AL
TI'[E T[MES PICAYUNE, L.L.C.-NEWARK MORNING LEDGER CO.-STAR LEDGER PLAZA

THE TIMES-PICAYUNE PUBLISH]NG CORP_, ET Al COX BROADCASTING, INC.D.B.A. COX
MEDlA GROUP, ]`NC. DB.A. AJC &
ALSO D.B.A.ATLAN'I`A JOURNAL
CONSTITUTION, Et Ai

THE NEW YORK '['1MES COMPANY D.B.A. NEW YORK T]MES ALSO NY TlMES, ET Al
CIVIL C{)MPLAINT FOR DAMAGES IN UNLAWFULLY SELLING PROPERTIES IN

EXCESS OF $300,000.00-R_ICO-18 USC PART I C. 73 S.1519-USC TI'I`LE 18 PART 1 C. 96

1962 ( a thru d )1964 ( a thru d )-UNLAWFUL SEIZURE AND REMOVAL OF MOVEABLE

ouHana

PERTY IN EXCESS OF $ZU,UO0.0U-DAMAGES IN EXCESS OF $4,000,[100,000.00 FOR

w`

EQIAL OF DUE PROCESS OF LAW-VIOLATIONS ()F TITLE VI S. 601-602-603 ()F

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§IVIL RIGHTS ACT- OBSTRUCTION OF IUSTICE- QUA TAM ACTION UNDER FALSE

1-E5LA[MS ACT- FEDERAL REVIEW OF DENIAL OF DUE PROCESS OF LAW AS £M
__Fse___¢~l_l£“i_

Plge-l-civil complaintldgif!htleralquickln'm*iojuncfdamages over SZZJNM.BBUSEDLJBMBIZGIB mPf GS;€~B»E_......,,.__..

 

Case 2:10-cv-00939-HGB-SS Document 1 Filed 03/22/10 Page 2 of 64

DONALD G. .IONES VS. FlRST BANK & ’I'RUST CO.-'I'RO & lNJUNCTION-DAMAGES OVER $4.BlLLION-
NOTICE OF REMAND lN CASE DOCI{ET FlRS'I` BANK & TRUST CO. VS. REBECCA B. DU`WELL & DONALI) G.
JONES CASE DOCKETS NO. 2008-511$-1'|-12£!009-5777-1.6 & 241” JDC DUCKE'I` NO. 660026-1)1\1 B

GUARANTEED UNDER oUR 5“* & 14““ AM§:NDMENTS oF 0UR U. s. CoNsTITUHoN-
AND ABRIDGED UPoN BY sTATE 0F LoUISIANA LEGISLATURE-LOLHSIANA
sUPREME CoURT-LA. 4“* cIRCUIT coURT 01= APPEALS_LA. 51`“ CIRCIHT COURT oF
APPEALS_DENIAL 0F DUE PRocEss OF LAW oNbER THE 5“'" AND 14“'
AMENDMENT-FUENTES vs. smale & RooKER-FELDMAN DoCTRJNE-
NoTICE oF REMAND-DIVERSITY LAWSUIT PURSUANT 1_‘0 U. s.c. 28 sEcTION 1332
AND 1441-LIST oF PARTIES To REMOVAL 0RLEANS CDC Nos. 2003-5733 1)1v. H-1_2
& 2009-5777 DIv. L 6 & 24T" JDC 660026 DIV. B PEmloN FoR EMERGENCY mo &
PERMEM l;N.IUNchoN HEARING As AFFORDED IN ScHlAvo vS. SCH;IAvo
U.s. 1). c. M. D. F. No. 05-00530-€v_27_T_U.s. 11TH cmcUI'r Nos. 05-11556 & 05-11628-

DENIAL OF IS'r AMEND]\[ENT RIGHTS-FREEDOM OF SPEECH-CENSORSH]P

 

NOW COMES [NTO THIS HONORABLE U.S. DISTRICT COURT, PLAINT[FF, DONALD
G. JONES , appearing in “ pro se form “, being of Blll majority, a resident, and agent of
businesses located in Fayette County Georgia, doing business in the Parish of Orleans, State of
Louisiana, and Parish Of Jefferson, a Katrina, and Rita victim, and a member of this petition for a
“ Class Action Lawsuit “ pursuant to, FRCP RULE 4, MY STH AND 14TH AMENDMENT
RIGHTS “ DUE PROCESS OF LAW “ UNDER OUR UNITED STATES CONSTI'IUTION,
U.S.C. TITLE 28 SECTIONS 1332 ( a) AND 1441, Title 28a RULE 23 ( a )( 1 ) , ( 2 ) , ( 3 ),
(4 ) and 23 ( g ), for violations ofUSC 28 SECT[ON 1962 ( a ) ( c ) (d ) ( RICO ), and U. S. C.

TITLE 15 ( ANTITRUST AND [[.LEGAL MONOPOLIES ), FEDERAL WI-]]STLEBLOWERS

Page-Z-civi] complainddgjffbtiera/quicldtrufinjunc/damages over $22,320,0||0.00USED1J|)3/09f2010

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DONALD G. JONES VS. FIRST BANK & TRUS`I` C(}.-'I'RO & lNJUNCl'ION-DAMAGES OVER S¢l.BILLlON-
NO'I`ICE OF REMAND IN CASE DOCKET FIRST BAN'K & TRUST CO. VS. REBECCA B. DUWELL & DONAI..D G.
.IONES CASE DOCKETS NO. 2008»5733-|1-12!2009-5777-11) & 24m JDC DOCKET NO. 660026~])“1 B

CIVIL COMPLAINT, and such other Constitutional, and Federal Violations later to be
incorporated all in accords with FRCP rules, to which this Honorable U.S. DISTRICT court has
venue all in accords with TITLE 15 CHAPTER 1 section 4, and such other Federal violations

aggrieved upon by Defendants upon Piaintifi` Donald G. Jones.

JURISDICTION OF rl`I-IE I-IONORABLE UNITED STATES EASTERN _DISTRICT COURT

OF LOUISIANA IN THIS CIVlL COMPLAINT ALL IN ACCORDS WITH FRCP RULE 4

TI-IE RULES F()R FILING a Civil Complaint are established by FRCP Rule 4, and Local Ru}es

LR 4 for Plaintil°f Donald G. Jones to file the above Caption.ed Civil Compliant.

Jones g'ght to represent himself in this matter is governed b1 TI'I`LE 28 U.S.C. PART V
CI-IAPTER III SECTION 1654.

“ lN ALL COURTS OF TI:`[E UNI'I`ED STATES the parties max plead and conduct their
own cases personally or bv counsel as. bv the rules of such cou@ respectivelf, are

p§rmitted to manage and conduct causes therein. “

Jurisdiction is further conferred on this Hon. U. S. Eastern District Couzt of louisiana under
Article 111, the 5“1 and 14‘h Amendments of ou_r Uniied ames Consi.imiion to hear matters
involving, Deuial of Due Proccss of Law as is guaranteed to Plaintiff.lones under Our United

States Constitution.

Pagc-S-civil complaintldgj!ibt!era/quickltro/injunc/damages over $ZZJM,OM.UOUSEDLNSMB)'Z(|IU

 

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DONA.LD G. JONES VS. FIRST BANK &. 'I`RUST CO.-TRO & }]`lJUNCl`I()N-DAM'\GES OV'ER $4.BILLION-
NOTICE OF REMANI) lN CASE DOCKE'I` F'lRST BANK & TRUST CO. VS. REBECCA B. DUWELL & DONALD G.
JONES CASE DOCKE'IS NO. 2008-5783-1{-12&009-5777-1»6 & 247" JI)C DOCKET NO. 660016-1)1‘\1' B

Jurisdiction is further conferred to Our United States Eastern District of Louisiana ( hereinafter

referred to as” Federal District or District Court “).

Jurisdiction is fin'ther conferred to the Federal District to hear matters ofDiversity where the
parties involved are citizens of different States, Counties ( Parishes ) , and the matter before the

Federal District is in excess of $75,000.00 28 U.S.C. SECTION 1332.

Jurisdiction is further conferred on the Federal Distn'ct to hear matters involving denial of
Constitutional rights from Lower State Courts, when the Piaintiff ( Jones ) has raised the United
States Constitutional issues before the Lower State Court ( s ) , and the lower State Courts have
denied Jones his Constitutionaliy protected rights under the 5“1, and 14th Amendment. Jones is not
barred from bringing these denials before the Federal District by Rooker-Feldman, as Jones in
over 60% of the Pleadings before the Lower State Court asserted his rights to be heard, and to
receive relief from the Lower State Courts as is guaranteed under the 5"’, l4m, & 13th Arnendnlents
of Our United States Constitution. Such Lower courts which inciuded the louisiana Suprerne
Court in Case Dockets No. 2010-0-0254 & 2010-C-0257, Louisiana 4th Circuit Court Oprpeals
in Case Dockets no. 2009-C-1545 & 2009~€~1355, as well as Louisiana Styh Circuit Court Of
Appeals NO. 2009-€-1083 & 2009-C-1084 & 2009-CM-1069, as well Orleans CDC Case
Dockets Nos. 2009-5777, & 2008-5783 Div. H12, and finally in Jefferson Parish Case Dockcts

no. 660026.

Jun`sdiction is furthered conferred to the Federa] District Court in this matter pursuant to Order

issued on September 2, 2009 I n Case Docket N(). 09-CV-2273 before the Honorable U. S.

Page-4-civi| complaintldgi/fbtlera!qniek!tro!iojnnc!damages over $ZZJZU,GMMUSEDLABM!Z[III]

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DONALI) G. JONES V& FlRS'I` BANK & 'I'RUST CGd-'I`RO & lNJUNCI`lON-DAMAGES OVER $Q.BILLION»
NGTICE OF REMAND IN CASE DOCKET Fl'RS'l" BANK & TRUS'I` CO. VS. REBECCA B. DUWELL & DONALD G.
JONES CASE DOCKE'I`S N(). 2068-5783-}1-12!2009-5777-1.6 & 241“ JDC DUCKE'I` NO. 660026-1)“' B

District Judge Charles Pannell, Jr. -CAP, and the Honorable Magistrate in that matter, whom
remanded the case back to Orleans Parish, and the Eastem District of Louisiana citing No

Jurisdiction over the Persons ( namely First Bank & Tmst co. et al ).

Jurisdiction is further conferred to the Federal District Court to hear matters involving RICO, and

Federal Whistleblowers complaint

Jurisdiction is further conferred to the Federal District in that Jones properties were, and still are
located in Orleans Parish, as well as Jefferson Parish Loujsiana, and are in excess of
$2,000,000.00 in Real Estate values, over $400,000.00 in unlawfully seized cash, and over
$4,(}00,{}00,000.00 I damages from unlawfully seized federal documents, and evidence in support

of Jones claims in the numerous Federal Courts, and Federal Appellate Courts.

Jurisdiction is further conferred on The F ederal District in that, the Constitut;lonal issues were

presented before Our Honol'able Lower Collrts, and are not barred from Federal review by
The Federal District as RooLer-Feldman Doctri_ne would preclude the Federa] District from
reviewing and overturning the ruling of the louisiana Sllp_reme Conrt were perfected on

March 1, 2010 § which is an appeal of the lI..a¢lth CA Case Docl_tet No.gGU9-C-1545 `_a_;l__d__
2009-€-1355 which were timely filed l, and Case llth No. g008-5783 has not been ruled

 

up_on, and also case docket No. 2009-5777 have not been completed ruled up_onl as the

matter in guestion was the right to he granted Forma PauEr.

Pagc-§-civil complaint/dgjlfhtleralquickftrnlinjuncfdamages over $ZZJZG,MBMUSEDLMJMM|IG

 

Case 2:10-cv-00939-HGB-SS Document 1 Filed 03/22/10 Page 6 of 64

DONALI) G. JONES VS. FlRSl` BANK & TRUST CO.-TRO & lNJUNCI'ION-DAMAGES OVER $4.BILLION-
NO'I'ICE OF REMAND IN CASE DOCKET FIRST BANK & 'I'RUS'I` CO. VS. REBECCA B. DUW'E[..L & DONAL]) G.
JONES CASE DOCKE'I`S NO. 2008-5783-|'1-12/2|)1}9-5777-1»6 & 24m JDC DOCKET N(). 6601}26-])[\7 B

JURISDICTION IS FURTHER conferred on The Federal District to expedite Jones request
for an Emergency EXPEDITED Temporary, and Permanent Injunction I-IEAR]NG, AND
GRANTING OF SA]]) RELIEF AGAINST the Defendants, as was granted in the latter of
Schiavo vs. Schiavo - United States Middle Court of Florida Case Dockets No. C05-00530-

T, etc. and U. S. llm CIRCUIT COUR TOF APPEALS NOS. 05-11623, AND 05-11556

OWNERSHIP RIGHTS OF J()NES TO TI']E PROPERTIES BEFORE T]E[E FEDERAL
DIS'I`RICT AGA[NST THE DEFElDANTS-FIR_§T BANK & 'I'RUS'I` CO. ET AL.
ST[RLING RESIDENT!AB [NC.-D.B.A. ERA STIRLING PROPERTIES, ET AL. BRIAN

SCHWEDA D. B.A. OUICK RECOVERY AUTO SALVAGE

2 STORY PROPERT]ES LOCATED AT 4631 & 4631 “A“ ANNETTE ST.

NEw oRLEANS. LA. 7012;

JONES has included with tile Civii Complajnt Jones Ownership Percentages ( % ] Mortgages,
and Leases to the properties which have not been cancelled, and have been in effect since
December 24, 2005, which were provided to all Parties concerned prior to any unlawful seizure,

and unlawful entries, and removal, and destruction of Jones properties

2 STORY- IVIU'LTI USE BU]L])]NG AND PARK]NG LOT PROPERT[ES LOCATED AT

1023, 1027. 1027 A, 1027 B. 1037 C. & 1031 'I`OURO ST. NEW ORLEANS.. LA. ?0116

Pagc-6-ch cnmplaintldgiffhtlcrafquick!trolinjnnc/dlmages over SZZ,$ZE|,BW.I)OUSEDLNJMIZ(IIB

 

Case 2:10-cv-00939-HGB-SS Document 1 Filed 03/22/10 Page 7 of 64

I)ONALD G. JONES VS. FlllSl" BANK & TRUST CO.-'I'RO & mJUNCTION-DAMAGES OVER $4.BILLION-
NOT!CE OF REMAND IN CASE DOCKET FIRS'I` BANK & TRUST C0. VS. REBECCA B. DUWELL & DONALD G.
J()NES CASE DOCKE'IS NO. 2008-5783-1'1-12&009-5777-1.6 & de JDC DOCI{['ZT NO. 660026-|)[\! B

JONES has included with the Civil Complaint Jones OWnership Percentages ( % )Mortgages,
and Leases to the properties which have not been cancelled, and have been in effect since
November 14, 2002 which were provided to all Parties concerned prior to any unlawful seizure,

and unlawful entries, and removal, and destruction of Jones properties

2 STORY PROPERTY LOCATED AT 3146 Vigg` ia Ave.-Kenner. louisiana 700§_§

JONES has included with the Civil Complaint Jones Ownership Percentages ( % ) Mortgages, to
the property which have not been cancelled, and have been in effect since October 7, 2004 which
were provided to all Parties concerned prior to any unlawful scizure, and unlawtiil entries, and

removal, and destruction of Jones properties

Wherefore having complied with the Requirernents of Ownership Rights, and Jurisdictional
Rights over the Persons before the Federal District, now comes Plaint:iff Jones in this matter, and
Defendant J ones in the other matters before the Honorable Federal District, filing this Civil
Colnplaint, and Petition Expedited TRO hearing, and Inj unction pursuant to FRCP Rule 60, and
Local Rule 60, as well Pursuant to the All Writs Act 28 U. S. C. 1651, filing this Civil Complaint
all-in accords with FRCP Rule 4, and humny petitioning the Court for Granting of Ex@ited

Emer_'gencv GrantiqLOf Forlna Papper, all in accords with FRCP 4. Ml 60 in__t_he matters

presented to the Federai District against Defendants:

Page-'I-civil complaint!dgilmt!crafquick)‘trolinjunc/damagcs over $HJZUM.MUSEDLM}M/ZMB

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DONALD G. JONES VS. FlRS]` BANK & TRUST CO.-'I`RO & INJUNCI`!ON-DAMAGES OVER M.BILLION-
NC'I'ICE OF REMAND lN CASE DOCKET FIRST BANK & 'I'RUST CO. VS. REBECCA B. DUWELL &, DONALD G.
JONES CASE DOCKE'I`S N(). 2008-5783-]'1-12!2009-5777-1)6 & him JDC DOCKET NO. 660026-DIV B

DEFENDANTS FIRST BANK & TRUST CO. E'I` AL

Wherefore Plaint;iff Jones adds such Defendants as First Bank & Trust CO. Et Ai, their
Directors, their employees, their vendors, of the State Chartered Bank in both the States of
Louisiana and Mississippi, and with principle business headquarter at 909 Poydras St.-Suite
1700~ New Orleans, La. 70112, and having as it’s registered agent of Service Mr. Mark C.
Landry( 212 Veterans Hwy.-Metairie, La. 70005 ) , and/or Mr. J. Kenneth Le Doux ( service
address 909 Poydras St.-Suite 3200 )N. (). La. 70130, and/or Mr. James Gamer, Esq.( 909

royal-as sr. suite zs“‘ noor-N. 0., La. 70112 ).

Wherefore Plaintiff Jones adds such Defendants as First Bank & Trust Community
Development Corporation, their l}irectors, and Employees, their vendors, of a business
Corporation in both the States of Louisiana and Mississippi, and with principle business
headquarter at 909 Poydras St.~ Suite 100»New Orleans, La. 70112, and having as it’s registered
agent of Service Mr. Mark C, Landry( 212 Veterans Hwy.-Metairie, La. 70005 ) , and/'or Mr. J.
Kenneth Le Doux ( service address 909 Poydras St.-Suite 3200 )N. 0. La. 70130, and/or Mr.

ames names Esq. ( 909 Poydras st suits 23*'1 noor_N. 0., La. 70112.

Wherefore Plaintjff Jones adds such Defendants as First Bank Cente:' Columhus
Properties, L. P. their Directors, Management, Employees, Vendors, of the Real Estate
Business in both the States of Louisiana and Mississippi, and with principle business

headquarter at 909 Poydias St.- Suite l700-New Orleans, La. 70112, and having as it’s registered

Page-|']»eivil complaintldg]'}ibt/era/quiekftrofiojune!damages over $ZZBM,MMUSEDMSMMIM

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DONALD G. JONES VS. FlRST BANK & TRUS'I` CO.-TRO & m.}'UNCI`lON-DAMAGES OVER $4.BILLION-
NOTICE OF REMAND IN CASE DOCKET FIRST BANK & TRUST CO. VS. REBECCA B. DU\YELL & DONALD G.
JONES CASE DDCKE'I`S NO. 2003-5783-H-lm009-5777-M & 24TII JDC DOCKE'I` NO. 660026-])1\’ B

agent of Service Mr. Mark C. Landry( 212 Veterans Hwy.-Metairie, La. 70005 ) , and/or Mr. J.
Kenneth Le Doux ( service address 909 Poydras St.-Suite 3200 )N. (). La. 70130, andfor Mr.

James Gamer, Esq. ( 909 Poydras St- Suite 28“’ fioor-N. O., La. 70112 ).

Wherefore Plaintiff Jones adds such additional First Defendants as Joseph Canizarro a
person of full majority, and a resident of Jet`ferson Parish, and last known address for service is
909 Poydras St.-N. O. La. 70130, Chairman of First Bank & Trust, and the overseer of policies of
First Bank & Trust. Defendant Mr. Joseph Canizaro is Chairman of the Board of Directors, and
has a personal liability in the policies, and administration of First Bank & Trust unlawful

activities

`Wherefore Plaintiff Jones adds such additional First Defendants as Desiree Han'is a person
of full majority, and a resident of St. Tan‘unany Pan'sh, with the last address as 817 N. Lake
Washington Ct.-Slidcll, La. 70462, and Manager of Special Assets Departnient of First Bank &
Trust, and the comptroller/agent whom oversees the account at First Special Assets funds, to
which are the federal violators in these regards . Defendant Harris will be noticed personally,

andfor through her attorneys ,Marc Landry-212 Veterans Hwy.-Metairie, La. 70005.

Wherefore Plaintiff Jones adds such additional First Defendants as Stepheu Diekie a
person of full majority, and a resident of (Jrleans, and service is 909 Poydras St.-N. O. , La.
70130, and Vice President over First defendant Desiree Harris, et al. Defendant Dickie will be
noticed personally, andfor through his attorneys ( James Gamer-909 Poydras St.-Suite 28di Floor-

New Orleans, La. 701 12) .

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DONALD G. JONES VS. FlRST BANK & 'I'RUST CO.-TRO & lNJUNCI'lGN-DAMAGES OVER M.BILLION-
NOTICE OF REMAND l'N CASE DOCKET FIRS'I` BANK & 'I'RUS'I’ CO. VS. REBECCA B. DUWELL & DONALD G.
JONES CASE DOCKETS NO. 2008-5783-1'1-12!2009-5777416 & 241-n JDC D()CKET NO. 660026-])“’ B

Wherefore Plaintilf Jones adds such additional First Defendants as J. Kenneth Le Doux a
person of full majority, and a resident of Orleans, and service is 909 Poydras St.-N. O. , La.
7 0130, and Vice President of Legal Department, and financial contracts for First Bank & Trust et
Al. Defendant J. Kenneth Le Doux will be noticed personally, and/or through his attorneys (

James Gamer-909 Poydras St. -Suite 28di Floor-New Orleans, La. 70112).

Wherefore Plaintiff Jones adds such additional Fil'st Defendants as J. Mjchael Brown a
person of full majority, and a resident of Orleans, and service is 909 Poydras St.~N. 0. , La.
70130, and Former!and or present President for First Bank & Trust et Al. Defendant J. Michael
Brown will be noticed personally, andfor through his attorneys ( Janies Gamer-909 Poydras St. -

Suite 28"‘ Floor-New Orleans, La. 70112).

Wherefore Plaintil’f Jones adds such additional First Defendants as .Iames E. Fitzmorris,
Jr. a person of full majority, and a resident of Orleans Parish, and last known address for
service is 909 Poydras St.-Suite 1700-N. 0. La. 70130, Secretary of First Bank & Trust, and the
overseer of policies of First Bank & Trust. Defendant Mr. James E. Fitzmon'is, Jr. is Secretary of
the Board of Directors, and has a personal liability in the policies, and administration of First
Bank & Trust unlawde activities, and to be served through his attorney of record James Garner(

909 Poydras st suits zs“‘ rloor-New orleans La. ?0112 ).

Wherefore Plaintiff Jones adds such additional Defendants as Stirling Rosidential, Inc. D.
B. A. ERA Stirling Properties, their Directors, Management, Employees, Real Estate agents

vendors, of the Rosidential Rea] Estate Saies Agent, and!or agency Chartered in the State

Page-ltl-civi| complaintldgj!fhtlerafquick/trulinjuncldamages over $22,320,000.00USEDL/03/09)‘20|0

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DONALD G. JONES VS. FIRS'I` BANK & TRUST CO.-TIIO & lNJUNCI`lGN-DAMAGES GVER M.BILLION-
NUI`ICE OF REMAND IN CASE DOCKET FIRS'I` BANK & TRUST CO. VS. REBECCA B. DUWE.LL & DONALD G.
JONES CASE DOCKE'I`S NO. 2008-5733-1'1-12/2009-5777-1,6 & ZAm .lDC DOCKET NO. 660026-DIV B

Of louisiaua, and domiciled in St. Tammany Parish, with domiciliary address as 109 NorthPark
Blvd. Suite 300- Covington, La. 70433, and to be served through their agent of Service ( No
Listing with the Secretary of State ) , and/or all in accords with Louisiana Law at their place of

business being 109 NorthPark Blvd.-Suite 300-Covnington, La. 70433.

Wherefore Plaintiff Jones adds such additional Defendant Susan Campbel| an _employee,
andfor Real Estate Agent of Stirling Residential, Inc. D. B. A. ERA Stirling Properties, a
Residential Real Estate Salos Agent, and!or agency Chartered in the State Of Louisiana, and
domiciled in St. Tammany Parish, with domiciliary address as 109 NorthPark Blvd. Suite 300-
Covington, La. 70433, and to be served all in accords with Louisiana Law at her place of business

being 701 Metairie Rd.-Metairie, La. 70005.

Wheret'ore Plaintiff Jones adds such additional Defendants as Brian Schweda D.B.A.
QUICK RECOVERY AUTO SALVAGE, their Directol's management, Employees,
vendors, of the business located in Jefferson Parish, with place of business address as 511
engineers rd.-Belle Chase, La. 70037, and to be served at this address ( louisiana Secretary of
State has no listing of this entity as a register business, and only has revoked Charters of One
Brian Schweda also Know as Quick Recovery Coatings Services, lnc.( hereinafter referred to as
Quick ) , and Jayhawk Services, lnc., and Gulf Coast Developers of Louisiana, LLC , KYM
Enterprises, lnc., and M &. I Coating Specialist, lnc. all WITH REVOK_ED CHARTERS ),
therefore Plaintiff Jones all and in accords with lav\¢r will serve MJ'. Brian Schweda on behalf of

Quick Recovery Auto Sa]vage at 511 Engineers Rd.-Belle Chase La. 70037.

l'age-ll-civil complaint/dgilibt!era/quickltro/injuuddamages over $22,320,000.00USEDU03N91'2010

 

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DONALD G. JONES VS. FIRSI` BANK & TRUST CO.-TRO & lNJUNCI'ION-DAMAGES OVER $¢LBILLION-
NO'I'ICE OF REMAND lN CASE I)OCKET FIRST BANK & TRUST CO. VS. REBECCA B. DUW'ELL dc DONALD G.
JONES CASE DOCKETS NO. 2008-5783-]:|-12)‘2009-5777-1.6 & 24m JDC I)OCKET NO. MWZG~D[V B

Wherefore Plaintii’f Jones adds such additional Dei`endants as Brian Schweda ( hereinafter
referred to as Quick ), personally, an employee at a business located in Jefl`erson Pal'ish,
with place of business address as 511 Engineers Rd.-Belle Chase, La. 70037, and to be served
at this address ( Louisiana Secretary of State has no listing of this entity as a registered business,
and only has revoked Charters of One Brian Schweda also Know as Quick Recovery Coatings
Services, Inc., and Jayhawk Services, Inc., and Gulf Coast Developers of Louisiana, LLC , KYM
Enterprises, Inc., and M & I Coating Specialist, Inc. all WITH REVOKED CHARTERS ),
therefore Plaintiff Jones all and in accords With law will serve Mr. Brian Schweda on behalf of

Quick Recovery Auto Salvage at 511 Engineers Rd.-Belle Ch_ase La. 70037.

Wherefore Plaintiff Jones adds as additional Defendants Governor Bobby Jindal as Chief
Exeeutive thcer for the State of Louisiana, His Staff, and Departments, vendors,
Louisiana Legislature, the House Of Representatives, and Senate of the 2005 through 2009
Sessions, their Legal associates, and Bill Writers, Honorable Louisiana Supreme Court,
Louisiana 4th Circuit Court 0f Appeals, louisiana 5"' Circuit Court of Appeals, (
hereinafter referred to as State Defendants ) , the Justices of these State Appellate Courts,
as the Trustees of the Laws which have, and still are depriving Plaintii'f Jones of his
Constitutional rights by maintain a Law, which is Un-Constitutionai, and which violates
Plaintiff Jones 5“’, and 14th Amendment rights, by allowing entities such as First, Stirling, and
Quick, and an unnamed Class Action set of Defendants to unlawfully, and Unconstitutionally

seized properties of Jones using this Unlawful, and Un Constitutional law, which is louisiana

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DONALD G. JONES VS. FIRST BA.NK & TRUST CO.-'I'RO & lNJUNCI`lON-DAMAGES OVER S¢I.BILL}ON-
NOTICE OF REMAND IN CASE DOCKET FlRST BANK & TRUST CO. VS. REBECCA B. DUWELL & DONALD G.
.IONES CASE DO(.'KETS NO. 2008-5733-H-12)`2IK}9-5777-L6 & 24“' .]I)C D()CKET NO. 660026-DIV B

Executory Privilege Law. The State Defendants are to be served through the State’s Agent for
Service of Process, namely; Hon. La. Attorney General James D. Buddy Caldweil ( hereinafter

referred to as Agent for La. Or AG ) at 1385 Third St.-Baton Ronge, La. 70802.

WE[EREFORE Plaintiff Jones adds such additional defendants as The TIN[ES PICAYUNE
L.L.C.-D.B.A. THE TIlV[ES PICAYUNE PUBLISH]NG CORPORATI()N, whose members
are Newark Morning Ledger Co. & Star-Ledger Plaza, their Directors, Management,
employees and vendors, ( hereinafter referred to as The Picayune ), a Newspaper certiiied
as The official Newspaper for the Parish of Orleans, and Jei`ferson, and such other Parishes
as the Clerk of Court records will show, Incorporated in the State Of Louisiana , and with
domiciliary address as 3800 Howard Ave-New Orleans, La. 70125-1429, and agent for Serviee of

Process is Corporation Service Company at 320 Somerulos St.-Baton Roage, La. 70802-6129.

WIIEREFORE PLAJNT]FF JONES adds such additional Defendants as Cox Broadcasting,
Inc. also known as Cox Media Group, Inc.-D.B.A. AJC ALSO KNOWN AS THE
A'I`LANTA JOURNAL CONSTITUTION , their Directors, Management, employees and
vendors, ( hereinafter referred to as Atlanta Jonrnal ) being a duly licensed Corporation ,
organized in the State Of Georgia, with domiciliary address ol` 6205 Peachtree Dunwoody rd.
Atlanta Ga_ 30328, to be served through their Agent Corporation Service Company-40

Technology Pkwy. South #300-N0rcross, Ga. 30092-Gwinnett.

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DONALD G. JONES VS. FIRS'I` BANK & TRUS'I` CO.-'I'RO & lNJUNCI'I()N-DAMAGES OVER $4.BILLIGN-
NO'I'ICE OF REMAND IN CASE DOCKET FlRST BANK & 'I'RUS'I" CO. VS. REBECCA B. DUWELL & DONALD G.
JONES CASE DOCI(ETS NO. 200&5783-['1-12}2009-5777-116 & 24Tli .lDC DOCKE'I` NO. 660026-|)[\! ll

WHEREFORE PLAINTIFF .IONES adds such additional Defendants as The New York
Timos Company D.B.A., The New York 'l`imes also known as NY Times their Directors,
Management, employees, and vendors, ( hereinafter referred to as N Y Timee or NYC ), a
duly licensed corporation authorized to do business in the State Of New York, with
domiciliary address of 620 Eight Avenue-New York, New York, 10018 to be served through their
Chairman and Chief Executive OHicer, namely; Janet L. Robinson, at 620 8th Ave.- New York,

New York, 10018 ( Secretary of State Has no agent listed ).

8 YEAR I'IIS'I`ORY OF EVENTS OF PROPERTY OWNER DONALD G. JONES

 

ON ()R ABOUT NOVEMBER OF 2002 Plaintiff Jones began a 8 year business relationship
with his iiancée’, namely Rebecca B. Duwell. This business relationship involved the Financing,
Designanild!Property Management of Multiple properties in the Parishes of Orleans, and
Jeii`erson. The 8 year business relationship had an aggregate value of over $22,000,000.00 prior

to the unlawful acts of First Bank & 'l`rust Co. and the defendants listed above

Plaintiff Jones has a Snperior Mortgage which began on December24, 2005, to that of First
Bank & Trust which allegedly began on December of 2006( never consummated in accords
with Louisiana and Georgia Real Estate Laws ). First Bank & Trnst began unlawful
seizure, and sale of Jones properties all in violations of TITLE 18 U.S.C. PART 1
CHAI'TER 13 SECTION 242 (DEPRIVATION OF RIGHTS UNDER COL()R OF LAW) ,
and violations of 'I`ITLE 18 U.S.C. PART I CHAPTER 47 SEC'I`ION 1021 (TI'I'LE

RECORDS ).

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Case 2:10-cv-00939-HGB-SS Document 1 Filed 03/22/10 Page 15 of 64

DONALD G. JONES VS. FIRST BANK & TRUST CO.-'I'RO & lNJUNCI'lON-DAMAGES OVER $¢I~.BlLLlON-
NOTICE OF REMAND IN CASE DOCKE'I` FIRST BANK & TRUST CO. VS. REBECCA B. DUWELL & DONALD G.
JUNES CASE DOCKETS NG. 2008-5783-|:[-12/2009-5777-15 & 24m JI)C DOCKET NO. 660026-|)|\/ B

Plaintiff Jones was, and still is one of 2 Owners of Properties which are located at 4631 &
4631 A Annette St.-New Orleans, Louisiana 70122 ( more particularly described in legal
descriptions attached to each Property-contained within this Civil Complaint ). The
Property was damaged heavily from hurn'canea Katrina, and Rita, and owner Rebecca B.
Duwell entered an agreement in December 24, 2005 for Piaintift` Jones to provide Funding,

and Construction Consulting to renovate, and repair the storm ravaged home.

Plaintitf Jones completed the renovations, and repairs and restored the unit to a Market value of
approximately $3 00,000.00 fort his 2 story 0wne1' occupied, and rental unit. Owner Rebecca B.
Duwell in exchange for these services extended an Ownership interest in the property, along with

a paid in full lease through Novembcr of2012 in one of the units.

On or about july 14, 2009 Plaintiff Jones was notified that First Bank & Trust had intended to
seized the property, and place the property up for Sheriff Sale on September 3, 20(}9. Plajntifl`
J ones filed for Petition for Intervention, and damages as more particularly described in case

docket no. 2009-5777-Orleans Parish CDC-Div. “ L 6 “.

The CDC Judge Kern Reese denied Plaintiff Jones rights to lntervene, and also to receive
Granting as a Forma Pauper. Plaintiff Jones appealed this Un-Constitutional action to the
Louisiana liu1 Circuit Court of Appeals , whom denied Jones Writs of Certiorari on the
Constitutionality of the Louisiana Executory Prooess law, as well as Supervisory Writs for the

denial of Due Prooess of Law, as afforded under the Fnentes vs. Shevin Case ( U. S. Supreme

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DONALD G. JONES VS. I"lRS'l` BANK & TRUST CO.-TRO & INJUNC'I`ION-DAMAGES OVER M.BILLION-
NOTICE Ol" REMAND l.N CASE DOCKET FIRST BANK & TRUST CO. VS. REBECCA B. DUWELL & DONALD G.
JONES CASE DOCKETS NO. 2008-5733-}{-12!2009-5777-16 & 241'H JDC DOCKET NO. 660026-DIV B

own case No. 70-5039 ) , and the nn and 14*'1 Amendmem. The La. 4“= Circuit court of
Appeals denied Jones Writs alleging they were untimely filed, when all Priority Mails, and
Notices form the trial Judge showed that Appellant Jones had until November 17, 2009, when in

fact Plaintiff`.lones filed the Writs on November 2, 2009.

Plaintiff Jones appealed these rulings to the Louisiana Supreme Court alleging the same
Constimtional violations , and as such on March l, 2010 the Louisiana Supreme Court denied
Appellant Jones Writs of Certiorari, and Appeals of the denial of jones Due Process rights as
guaranteed under the 5di , and 1401 amendment, and further given Case Precedent under the

Puentes vs. Shevin case of Our Untied States Constitation.

Plaint:iii` Jones presented ali documents needed to show his Ownership rights, and his Superior
Mortgage to that of First Bank & trust, whom allegedly filed a Firs Mortgage on ,or about

January of 2007, approximately 2 year alter Jones had his Mortgage in plaoe.

First Bank & Trust was notilied by Jones ofthe unlale acts, and mdmown to Plaintifi`]oncs,
First Bank & Trust Co. through it’s agents Stirling Residential , lnc. D. B. A. ERA Stirling
Properties ( hereinafter referred to as Stirling ) entered Jones residence at 4631 Annette St. N. 0.,
La. 70122 and unlawfully removed over 12 boxes, and 2 suit cases of documents, all RICO, and
Anti Trust documents against these defendants in other federal lawsuits, along with furniture,
clothing, jewelry, pictures, etc. as ell as my 2006 Dodge Pickup Truck, and has disposed of them

without Plaintiff Jones permission

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Case 2:10-cv-00939-HGB-SS Document 1 Filed 03/22/10 Page 17 of 64

DONALD G. JONES VS. FIRST BANK & TRUST CO.-TRO & INJUNCI`lON-DAMAGES OVER M.BILLION-
NOTICE OF RE.MAND IN CASE DOCKE'I` FI`RS'I` BANK & TRUST CO. VS. REBECCA B. DUWELL & DONALD G.
JONES CASE DOCKETS NO. 2008-5783-1{-12/2009-5777-1§ & 24Tll JDC DOCKET NO. 6601¥£6-1)]\' B

Plaintiff J ones filed for an Emergency Stay with the louisiana Suprerne Court, and was denied a

Stay on the matter.

ADDITIONALLY Plaintiff Jones has a Mortgage Superior which was entered into on
Novemher 14, 2002, to that Of First Bank & Trust which allegedly was entered into sometime
later. Plaintiff Jones is a Co-Owner of the properties whom agreed to take a Subordination to any
funding of Rebeeca B. Duwell, as long as Jones Ownership interest were not infringed upon, are
unlawfizlly disposed of, as was, and still is trying to be done by First Bank & Trust in Orleans
CDC Case Docket NO. 2008-5783, namely; Writ of Seizure and Sheriff Sale, which has
unlawfully taken place, in direct violation of both United States Constitutional Law ( Violations
of the 5"’, and 14th Amendments ) via Louisiana Executory Proeess Law, which violates the 14th
Amendment prohibition against State Abridgement to unlawful deprive an American citizen of
their rights to enjoy Property, without abridgement under violations of TITLE 18 U.S.C. PAR'I'
I CHAPTER 13 SECTION 242 ( DEPRIVATION ()F RIGHTS UNDER COLOR OF
LAW) , and violations ufTITLE 18 U.S.C. PART I CHAPTER 47 SECTION 1021 ('I`ITLE

RECORDS ).

P}aintiff.lones Co-owns the properties located at 1023, 102'7, 1021l A, 1027 B, 1027 C , & 1031
Touro St.»New Orleans, La. 70116 and this property was additionally seized, and unlawliilly sold
at Sheriff Sale. A hearing on this matter was scheduled for Mareh 12, 2010 before Orleans CDC
lodge Michael Bagneris, but it has been continued until April 9th, or 16th ( waiting for Mrs. Serena

Vaughn to concur on new date ) ..

Page-l'I-civil comp|ainb'dgjlibtleralquicklu'ofinjnnddamages over $22,320,000.00USEDL/03)09B010

Case 2:10-cv-00939-HGB-SS Document 1 Filed 03/22/10 Page 18 of 64

DONALI) G. JONES VS. FlRSI` BANK & TRUST CO.-TRO & INJUNCl'ION-DAMAGES OVER MBHMON-
NOTlCE OF REMA.ND IN CASE DOCKET FIRST BANK & TRUST CO. VS. REBECCA B. DUWELL & DONALD G.
JONES CASE DOCKETS NO. 2008»57$3-[-1-1?.!2009-5777-1£ & 24m JDC DOCKET NO. 660026-1)“1" B

Plaintiff.lones has combined with this Civil Complaint a NGTICE OF REMOVAL OF 'l"HAT
case to be incorporated with the present Civil Complaint, and a such will hereinafter incorporate

the Merits of t hat litigation by reference to Plaintiff Jones present Civil Complaint.

The value of that proper_t_v is estimated to be around §700,000.00, and was unlawfully sold

without any Cash or Certi§ed Funds being received by the Orleans Sheriff from First Bank

& Trust as was advertised. PlajntiE Jones filed for a Motion to vacate t he Sheriff Sale, and

this is what wa_s intended to be heard on March 12a 2010.

ON OR ABOUT JAUNARY 14, 2010 PLAINT[FF JONES presented before 24th JDC Judge
Comelius Regan Constitutional issues which pertain to the unlawli.ll Seizure, and sale of the
property located at 3146 Virginia Ave-Kenner, La. 70065, and the unlawful seizure of
approximately $184,000.00 in Plaintifi` Jones cash from Jones escrow agent by First Bank &
Trust et al ( hereina£er refereed to as First ). Plaintiff Jones also presented the Constitutional
Question of whether Plaintifl` Jones had the right to Intervene in matters which involve his God
Given birth name of DONALD G. JONES LAST 4 SS # 2722. 24"1 JDC Judge Regan denied
Plaintif’f` Jones as having a Constitutional right to Intervene in matters involving Plaintiff J ones

flame.

P]aintifi` Jones further presented for the 24"' ]DC Judge evidence which supported Jones Superior
Ownership right sin the property located at 3146 Virginia Ave, which was acknowledge by First
in First documents seeming Jones collateral interest in the property , as listed in Prornissory Note

for loan of $25,000.00.

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DONALI) G. JONES VS. FlRSI` BANK & TRUST CO.-'I'RO & INJU'NCI'ION~DAMAGES OVER $LBILLION-
NO'I`ICE OF REMA.ND IN CASE DOCKET FlRST BANK & TRUST CO. VS. REBECCA B. DUWELL & DONALI) G.
JONES CASE DOCKETS NO. 2008-5783-|:1-12}2009-5777-16 & 24'"l JDC DOCKE'I` NO. 660026-1)1\! B

First Bank & Trust began unlawful seizure and sale of Jones properties all in violations of
TITLE 18 U.S.C. PART I CHAPTER 13 SECTI()N 242 (DEPRIVATION OF RIGHTS
UNI)ER COL()R OF LAW) , and violations of TITLE 18 U.S.C. PART I CHAPTER 47

SECTION 1021 ( 'I`I'I`I..E RECORDS ).

Plaintiff Jones Due Process of Law was violated, and Jones was not afforded the right to

represent his interest in those Proceedings.

Plaintili` Jones further presented for the 24"’ J])C Judge the unlawful manner in which the

Sheriff of Jefferson Parish carried out tile Sheriff sale, and that no Certiiied funds were

eollected, or cash forr_n First. Neverthel& the title was taken from Jones, and Duwell and

given to First.

CIVIL COMPLAINT AGAINST FlRST-STIRLING-QUICK DEFENDANTS

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oN on Anon'r nEcEMBER 21, 2009 DEFENDANTS FIRST, sTIRLrNG s ancr<;
UNLAWFULY ENTERED iNro Jones property warned at 4631 & 4631 A Anneae si._ New

Orleans, La. 70122.

The purposes of this entry was to unlawfully removed legal documents which contained evidence
in support of Jones RICO lawsuits, and Anti Trust lawsuits, as well as to unlawfully removed
other personal belongings of Plaintiti` Jones in excess of $60,000.00 ( 2006 Dodge Rarn Truck-

Furniture-Ciothing-Jewelry, etc. ).

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DONALD G. JONES VS. FIRS'I` BANK & TRUST CO.-TRO & lN.]UNCl'ION-DAMAGES OVER $\I.BILLlON-
NOTICE OF REMAND IN CASE DOCKET FlRST BANK & TRUST C(). VS. REBECCA B. DUWELL & DONALD G.
JONES CASE DOCKE']'S NO. 2008-5783-1-1-12/1009-5777-1.6 & 24m JDC DOCK.ET NO. 660026-DIV B

dgj/rbi/esp/qm- 2 )

Plaintiti` Jones never gave authorization to First, Stirling, or Quick to enter the premises or to
remove any of Jones contents from the premises The Defendants worked eoncertedly, and
conspicuously to conceal their presence in the premises, and it was not until Plaintiff Jones
received a Notice form Quick a month or so later, that Jones had any indication these entities had
entered the premises

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First was iii]ly aware of Jones occupancy in the premises, and First Attorneys, and Board of
Directors, and staff knew J ones had a Lease on the property, at a minimum, and never served
Jones with any eviction Notices to vacate t he premises, or his personal contents would be placed

on the streets, etc.

First Attomeys Mark Landry, and J. Kenneth Le Doux, as well as James Garner knew hew to get
in touch with Jones, and in fact Jones was in contact with them via court documents, and

hearings routinely during the last past 2 years, at a minimum once a month.

FEIERAL law under the Fuentes Doctrine has been determined to Order Jones property
returned, and damages awarded sufficient to satisfy the injuries caused to Jones by First, Stirling,
and Quick consistent with Federal law against unlawful seizure, and sale of an American citizen’s
property without sufficient Notice, and a Deprivation hearing being held to prove the validity of

true ownership of the parties at Bar.

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DONALD G. JONES VS. FlRSI` BANK & TRUST CO.-TRO & INJUN(`,TION'DAMAGES OVER $4.BILL10N-
NO'I'|CE OF REMAN`D IN CASE DOCKE'I' FIRST BANK & TRUST CO. VS. REBECCA B. DUWELI.. & DONALD G.
JONES CASE DOCKETS NO. 2008»5783~!'1-12!2009~577’7~1,6 & 2-1»'"f Jl)C DOCKET NO. 660026-DIV B

Fil°st Bank & Trust began unlawful seizure, and sale of Jones properties all in violations of
TI"I`LE 18 U.S.C. PART I CI-IAPTER 13 S_ECTION 242 (DEPRIVATION OF RIGHTS
UNDER COLOR OF LAW) , and violations of TITLE 13 U.S.C. PART I CHAPTER 47

SECTION 1021 (TITLE RECORDS ).

Relief is sought under FRCP Rule 60

Relief is sought under Title 28 Part V Chapter lII Section 1651

( a ) The Snprerne Court and all courts established by Act of Congress may issue all writ
necessary or appropriate in aid of their respective jurisdictions and agreeable to the usages

and principles of law.

Legal Precedent established in the case titles Schiavo vs. Sehiavo U. S. District Court for the
Middle District Of Florida ( case No.CV-05-00530-T ) and ( Appellate Docket Nos. 05-

1 1628and 05-11556-u. s. 11lh circuit court of Appca]s Marcll 23, 2005 and Mareh 30, 2005 )

Relief is farther sought under F.RCP 4, and 28 U.S.C. PART V SECTION 1657, Jones
rights to have this case Expedited before a Jury of Jones peers to hear the facts of the case,
and to immediately Grant unto Jones the right of Award in an amount sufficient to satisfy

the damages caused by First, Stirling, and Quick.

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Case 2:10-ev-00939-HGB-SS Doeument 1 Filed 03/22/10 Page 22 of 64

DONALD G. J(}NES VS. FlRS`I` BANK & TRUST CO.-TRO & lNJWCTTON-DADMGES OVER $4.BlLLION-
N()TlCE OF REMAND IN CASE D{)CKET FlRS'I' BANK & TRUST CO. VS. REI¥ECCA B. DUWELL & DONALI) G.
JONES CASE DOCKETS NO. 2M8-5783-H-12fl009-5777-1,6 & 24"" JDC DOCKET NO. 660026-1)1\/ B

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First and Stirling on, or about February 25, 2010 unlawfully sold Jones property located at 4631
Annette St. even though Jones has a Mortgage, and Ownership interest which is recorded in

Orleans Parish Mortgage Departrnent ( see attached Mortgage ) .

The es under item '- -4 to Jones is in the amount o $300 000.00.

First and Stirling has unlawfully obtained title the property without the proper 'l`itle Clearances,
and paid in full receipt from Jones of Jones OWnership rights in the property which are Superior
to First, as is evidenced in the Mortgage, and Ownership interest dated December of 2005 ( see

attached Mortgage and ownership documents ).

First Bank & Trust began unlawful seizurc, and sale of Jones properties all in violations of
TITLE 18 U.S.C. PART I CHAPTER 13 SECTION 242 ( DEPRIVATION OF RIGH_TS
UNDER COLOR OF LAW) , and violations of TITLE 18 U.S.C. PAR'I` I CHAPTER 47

SECTION 1021 ('I`ITLE RECORDS ).

Relief Is sought under Title 28 Part V Chapter I[I Section 1651

( a ) The Supl'eme Court and all courts established by Act of Congms may issue all writ
necessary or appropriate in aid of their respective jurisdictions and agreeable to the usages

and principles of law.

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Case 2:10-ev-00939-HGB-SS Doeument 1 Filed 03/22/10 Page 23 of 64

DONALD G. JONES VS. FIRST BANK & TRUST CO.-'I`RO & lNJUNC'l`lON-DAMAGES OVER SI.B[LLION-
NO'I'ICE OF REMAND I_N CASE DOCKET FIRST BANK & TRUST CO. VS. REBECCA B. DUWELI.. & DONALD G.
JONES CASE DOCKETS NO. 2m8-5783-H-12!2009-5777-L6 & 24m JDC DGCI{ET NO. 660026-DIV B

Legal Precedent established in the case titles Sclriavo vs. Schiavo U. S. District Court for the
Middle District Of Florida ( case No.CV-05-00530-T ) and ( Appellate Docket Nos. 05-

11628and 05-11556-u. s. llu' circuit court of Appeals Mal‘ch 23, 2005 and March 30, 2005)

Reliei' is further sought under FRCP 4, and 28 U.S.C. PART V SECTION 1657, Jones
rights to have this case Expedited before a Jury of Jones peers to hear the facts of the case,
and to immediately Graut unto Jones the right of Award in an amount sufEcient to satisfy

the damages caused by First, Stirling, and Quick.

dgjifht!esplqras- 5 )

First , and Stirlng never paid for the alleged Sheriii` Sale all in accords with louisiana , and/or
Federal law, as No Certilied Funds, andfor Cash was paid to the Orleans Parish Sheriff for the

Alleged Successful bid of First at the Sheriff Sale of September 3, 2009.

First Bank & Trust began unlawful seizure, and sale of Jones properties all in violations of
TITLE 18 U.S.C. PART I CHAP'I'ER 13 SECTION 242 ( DEPRIVATION OF RIGHTS
UNDER COLOR ()F LAW) , and violations ol` TITLE 18 U.S.C. PART I CHAPTER 47

SECTION 1021 ('I`ITLE RECORDS ].

dgjlfvr)¢sp;qm. s )

First, and Stirling have been notified through every means necessary and to this date have ignored
all request of Jones to cease, and desist, and to return the properties of Jones, and to restore Jones

right of entry into his Leased residence at 4631 Annette St., but to no avail

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DONALD G. JONES VS. FIRST BANK & TRUST CO¢-TRO & lNJUNCI'ION-I)AMAGFS OVER MBII.LION-
NUI'ICE OF R.EMAND lN CASE DOCK`ET FIRST BANI( & TRUST CO. VS. REBECCA B, DUWELL dc DONALD G.
JONES CASE DOCKE'I`S NO. 2008-5733~1'1-12!2009-5777~1.6 & 241“ .lDC DOCKET NO. 660026-D[V B

Jones has a paid in full lease, and First nor Stirling has paid any amounts to purchase Jones out of

the Lease.

dgilfbtiesp!qras- 7 )

The property located at 4631 Annette St. is heirs property, and is agreed to never be sold by any
members Whom have ownership in the property, and as such this action is causing lrrepal'able
Emotional harm, as was presented in the Schiavo vs. Schiavo case, and as such Plaintiff]ones
should be granted the same Federal consideration by this Federal Disnict in allowing Jones to be
granted a TRO, and Injunetive relief, in an Expeditious Manner, pursuant to FRCP Rule 60, and

Loca] Rule 60, as well as is afforded under the All Writs Acts Title 28 U. S. C. Section 1261.

agj/mmplqms-s )

These unlawiiil actions by First , Stirling, and Quick denied Plaintiff Jones of his
Constitutionally sanctioned, and protected right sander my Sht, and 14111 Amendment rights, as
has been upheld by Our United States Supreme Court in the Preeeclent case involving a
Deprivation Hearing to the Owners prior to any Property being unlawfully seized, and Sold,

namely. Foentes vs. Shevin ( U. s. Supreme Court No. 70-5039 -attached to these Pleadings)

First Bank & Trust began unlawful seizure, and sale of Jones properties all in violations of
TITLE 18 U.S.C. PART I CHAPTER 13 SECTION 242 (DEPRIVATION OF RIGH‘I`S
UNDER C()LOR OF LAW) , and violations of TITLE 18 U.S.C. PART I CHAPTER 47

sEcTIoN 1021 (TrrLE REcoRns ).

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DONALD G. JONES VS. FIRST BANK & TRUST CU.-TRO & lNJUNCI'lON-DAMAGES OVER S¢I.Bll.LION-
NOTICE OF REMAND l'N CASE DOCKET FIRST BANK & TRUST CO. VS. REBECCA B. DUWELL & DONA]..D G.
JON`ES CASE DOCKE'I`S NO. 2008-5783-11-12./2009-5777-1»6 31 24"' .l'DC DOCKET NO. 660026-DIV B

Jones Relief is sought Under FRCP 60 Eme_l;gengy TRO and In}'uuctive relief as well as

under 28 USC moog 1651 or the Au writs Act, n_>r violations of Joaes 5“ agd 14“'

 

Amendment righ§ as is stated in Our United States Supreme Cogrt Case as is

incog@rated, and enumerated below:

Relief is sought under Title 23 Part V Chapter I[I Section 1651

( a) The Supreme Court and all courts established by Act of Congress may issue all writ
necessary or appropriate in aid of their respective jurisdictions and agreeable to the usages

and princile of law.

Legal Precedent established in the case titles Schiavo vs. Schiavo U. S. District Court for the
Middle District Of Florida ( case No.CV-05-00530-T ) and ( Appellate Docket Nos. 05-

11628and 05-11556-11. s. 11th circuit court of Appeals March 23, 2005 and Marcll 30, 2005 )

Relief is further sought under FRCP 4, and 28 U.S.C. PART V SECTION 1657, Jones
lights to have this case Expedited before a Jury of Jones peers to hear the facts of the case,
and to immediately Grant unto Jones the light of Award in an amount sufficient to satisfy

the damages caused by First, Stirling, and Quick.

JONES RESPECTFULLY SUBMlT FOR OUR MOS'I` HON. UNITED STATES EASTERN
DISTRICT COURT OF LOUISIANA TO CONSlDER TI-[E W]SDOM OF OUR UNITED
STATES .TUSTICES iN THE CASE OF FUENTES VS. SI~[EVI`N ( 70-5039-SECTION IV-

PAGE 4 OF 15 ) TN CONSIDERING WHETI-IER TO G.RANT JONES CONSTITUTIONAL

I’agc-IS-civil complai nt!dgjllbtleralqlck!n'o/injunc!dlmges over $22,320,000.00USED1}03/09!101[|

 

Case 2:10-cv-00939-HGB-SS Document 1 Filed 03/22/10 Page 26 of 64

DONALD G. JON'ES VS. FIRSI` BANK & TRUST CO.-TRO & lNJUNCTION-DAMAGES OVER $4.BILLlON-
NUI`ICE OI" REMAND lN CASE DOCKET FIRSI' BANK & TRUST CO. VS. REBECCA B. DUW'ELL & DONALD G.
JONES CASE DOCKETS NO. 21118-5783-1-1-12/2009-577‘7-1.6 & 24“' JDC DOCKET NO. 660026-DIV B

RIGHTS TO AN EXPEDITED EMERGENCY HEARING ON A TRO AND PERMANENT
INJUCTIVE RELlEF AS WELL AS AN ORDER OF MANDAL{US TO RELEASE JONES

PROPERT.[ES, WHICH ARE UNLAWFULLY BEING HELD BY FIRST»STIRLING-QUICK

IV

FOR MORE THAN A CENTURY, the central meaning of procedural Due Process has
been clear:” parties whose rights are to be affected are entitled to be beard; and in

order that they may enjoy the right they must am nn Norn'tso. “ nALDWtN v.

HALE l WALL 223 233 SEE WINDSOR V. MeVElGl-I 93 U. S. 274' HOVEY V. ELLIOT]`

 

167 U. S. 409' GRANNIS V. ORDEAN 234 U. S. 385. lt is equally fundamental that the

 

light to NOTICE AND AN OPP()RTUN]'I'Y TO BE I'IEARD “ “must be gganted” at a

meanian time and n a meaninsM manner. " Armsrrong v. Manzo. 380 U. S. 545. 552.

The primary question in the present cases ( Fuentes v. Shevin- as well as Donald G. Jones vs.
First Bank & Trust-ZOlO-C-0254 & 2010-C-0254-emphasis added ) is whether these statutes (

which includes Louisiana’s Exeeutory Proeess emphasis added ) are constitutionally defective

in failing to provide for hearip§ “ at a meaningful time. “ The Florida replevin process
guarantees an oppp_rtuni§y for a hearing after the seizure of good§, and the Pennsylvania

process allows a post-seizure hearing if the aggrieved party shoulders the burden of initiating one.
But neither the Florida nor the Pennsylvania statute provides for Notice or an Opportuni§y to be

heard before the seizure. The issue is whether procedural due process in the context of these

cases rpguires an op@rtuni§y for a hearing before the State authorizes its agents to seize
propem in the Mion of a Erson upon the application of another.

Page-Zd-civii complaint{dgj/ibt/crafquickftroiiojunddamages over $22,320,000.00USEDL/03M9/2010

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DONALD G. JONES VS. FIRST BANK & TRUST CO.-TRO & lNJUNC’I`ION-DAMAGES OVER $4.BlLLION-
NO'I'ICE OF REMAND IN CASE DOCK.ET FlRST BA.NK & TRUST CO. VS. REBECCA B. DU`WELL & DONALD G.
JONES CASE DUCKETS NO. 2008-5783-H-1m009-5777-L6 & 24" JDC DOCI(ET NO. 660026-DIV B

The Constitutional right to be heard is a basic aspect of the duty of government to follow a fair
process of decision making when it acts to deprive a person of hisfher ( Donald G. Jones and/or
Rebecea B. Duwel] ) possessions The Purpose of this requirement is not [ p 81] only to ensure
abstract fair play to the individual. Its purpose, more particularly, is to protect his use, and
possession of property from arbitrary encroachment-to minimize substantively unfair or
mistaken deprivations of property, a danger that is especially great when the State seizes goods
simply upon the application of and for the benefit of a private party. So viewed, the prohibition
against the deprivation of property without Due Process of Law reflects the high value, embedded
in Our Constitutional and Political History, that we place a person’s right to enjoy what is his/her
( Donald G. Jones and Rebecca B. Duwell ), free of governmental interference See Lyneh v.

I-Iousehold Finance Corp, 405 U. S. 538, 552.

The requirement of Notice and An Opportunity to be heard raises no impenetrable barrier
to the taking of a Person’s ( Donald G. Jones and Rebecca B. Duwell ) possessions But
the F air Process of Decision Making that it guarantees works, by itself, to protect against

arbitrary deprivation of property

For when a person has an Opportnnity to Speak Up in hisfher ( Donald G. Jones and
Rebeeca B. anell ) own defense, and when the State must listen to what hefslle has to say,
substantively nnfair, and simply mistaken deprivations of property interests can be

prevented.

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DONALD G. JONES VS. FI'RS'I` BANK & TRUST CO.-'I`RO & INJ'UNC'I`ION-DAMAGES OVER $4.BILLION-
NOTICE OF REMAND IN CASE D()CKE'I` FIRST BANK & TRUST CO. VS. REBECCA B. BUWELL & DONALD G.
JONES CASE D()U(ETS NO. 2098¢-5783-|1-12!2009-5777-]16 & 241-o JDC DOCKE'I` NO. 660026-D1V B

lt has long been recognized that:

Fairness eeo rarely be obtained by secret, one-sided determination of facts decisive
of rights.... [And n ] o better instrument has been devised for arriving at truth than to give
a person ( Donald G. Jones and Rebecca B. Duwell) in jeopardy of serious loss Notice of the

case against himfher an opportunity to meet it.

Joint Ant-fascist refugee Committee v. McGrath, 341, U. S. i23, l70, 172 ( Frankfnrter, J.,

concurring ).

If the right to Notice and a Hearing is to serve its full pugpose, thenl it is clear that it must he

granted at a time when the deprivation can Still be Prevented. At a later hearing, an

Individual’s Donald G. Jones and Rebecca B. anell possessions can be returned to
him/her if they were unfairly or mistakenly taken in the first place. Damages may even be [ p82 ]
awarded to him/her for the wrongful deprivation But no later hearing and no damage award can

undo the fact that the arbitrary taking that was subject to the right of Procedural Due Process

has already occurred. This § Our United States Snpreme Cot_lrtl has not e_m_l_)raced tl_)_g

general pro@ition that wrong may be done if it can de undoing “ Stanlev v. ]]linois. 405 U.

S. 645, 647.
This is no new principle of Constitutional Law. The right to a prior hearing has long
been recognized by this Court ( ()nr United States Supreme Court) under the Fourteenth

( 14th ) and Fitth ( 5th ) fifth Amendments. Although the court held that due process

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DONALD G. JONES VS. FIRSI` BANK & TRUST CO.-TRO & INJUNCTION-DAMAGES ()VER S¢.BILLION-
NO'I'ICE OF REMAN'D IN CASE DOCKET FlRST BA.NK & TRUST CO. VS. REBECCA B. DUWELL & DONAI.D G.
JONES CASE DOCKETS NO. 2W8-57E§-H-1m9-5777-[.6 & lim JDC DOCKEI` NO. 660026-DIV B

tolerates variances in the form of a hearing “ ggprogriate to the nature of the case, “
Mullane v. Central Hanover Tr. Co. 339 U. S. 306, 313, and “ depending upon the

importance of the interests involved and the nature of the subsequent proceedings [ if
any]. Boddie v. Connecticut, 401 U. S. 371, 378, the Court has traditionally insisted that,
whatever its form, opportunity for that hearing must be provided before the deprivation at
issue takes its form, opportunity for that hearing must be provided before the deprivation
at issue takes effect. E. g. Beli v. Burson, 402 U. S. 535, 542; Wiseonsin v.
Constantineau, 400 U. S. 433, 437; Goldberg v. Kelly, 397 U. S. 254; Annstrong v.
Manzo, 380 U. S. at 551; Mullane v. Central Hanover Tr. Co. supra, at 313; Opp Cotton
Mills v. Administrator, 312 U. S. 126, 152153; United States v. Illinois Central r. co. ,
291 U. S. 457, 463; londoner v. City & County of Denver, 210 U. S. 373, 385-386. See

In re Rui“`falo, 390 U. S. 544, 550-551.

That the hearing required by due process is subject to waiver, and is not fixed in form
does not affect its root requirement that an individual be given an opportunity for a hearing before
he/she is deprived of any signiiicant property interest, except for extraordinary situations where
some valid governmental interest is at stake that justifies postponing the hearing until after the

event.

Boddie v. Connecticut, supra at 379-3?9 ( emphasis in original ) [ p83 ].

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DONALD G. JONES VS. FIRSI` BANK & TRUST CO.-TRO & lNJUNCTION-DAMAGES OVER $4.BILLION-
NOTICE OF REMAND IN CASE DOCKET FIRST BANK & TRUST CO. `VS. REBECCA B. DUW'ELL & D()NALD G.
.](}NES CASE DOCKETS NO. 2|]]8-5783-1'|-12!2,0|!9-5771-1£ & 24“' JDC DOCKE'I' NO. 660026-DIV B

FINALLY OUR MOST HON. U. S. EASTERN DISTRICT JUDGE, JONES PRAYS
'I`I'IAT SECTION “ VI[ “ BE GIVEN THE SACRED WISDOM WII[CH OUR MOST

HONORABLE U. S. DIS'I'RIC'I` JUDGE HAS SWORN 'I`O UPI'IOLD

 

F[NALLY, WE ( Our United States Supreme Court as well as Our Most Honorable
Louisiana Supreme Court) must consider the contention that the appellants who signed
conditional sales contracts thereby waived their ( Douald G. Jones and Rebecca B. Duwell)
basic Proeedural Dl_le Proeoss rights. The contract signed by Mrs. Fuentes provided that, “ IN
the event of default of any payment or payments, Seller( Lender-First Bank & Trust in this Lega]
analysis ) at its option may take back the merchandise ( repossess the Alleged Collateral ) . .. “
The Contracts signed by the Pennsyivania appellants similarly provided that the Seller ( Lender in
this Case ) may retake “ ( Seize and Sell at Sheriff Sale in this Case ) the merchandise in the
event of a “ default in any payment “. These terms were parts of printed form contracts, appearing

in relatively small type and unaccompanied by any explanations clarifying their meaning

In D. H. Overmyer Co. v. Frick Co., 405 U. S. 174l the Court recently outlined the
considerations relevant to determination of a contractual waiver of Due Process rights
Applying the standards governing waive of Constitutional Rights in a criminal
proceeding [ n3 l}-although not holding that Such standards must necessarily apply--- the
Court held that, on the particular facts of the case, the contractual Waiver of Due Process [
p95 ] rights Was Voiuntarily, intelligently, and knowingly “ made. ld at 187. The contract
in Ovennyer was negotiated between two corporations; the waiver provision was
specifically bargained for, and dra;[ted by their lawyers in the process of these

negotiations Pageso_civil complainudgj/rbc/m/quick/cmanjunddamages over sm:a,ooo.ouussnuosmwzolo

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DONALD G. JONES VS. FIRSI` BANK & TRUST CO.-'I'RO & INJUNC'I'ION-DAMAGES OVER SI.B]LLION-
NOTICE OF REMAND ]N CASE DOCKET FIRST BANK & TRUST CO. VS. REBECCA ll. DUWELL & DONALD G.
JONES CASE DOCKETS NO. 2008-57&3-H-12/2009-5777-L6 & Z¢lm JDC DOCKET NO. 660|]26-DIV B

As the Court noted, it was “ Note “ a case of UNEOUAL BARGAIN]NG POWER OF
OVERERACH]NG. The Overmyer-Frick agreement, from the start, was not a contract of

adhesion, “ Id. At 186. Both parties were aware of the significance of the waiver provision Ibid.

The facts of the present case ( including Donald G. Jones and Rebecca B. Duwell-LSC NO. 2010-
c»0254 & 2010-C-0257 ) are a far cry from those Overm_yer. There was no bargaining over
contractual terms between the parties who, in the event, were far from equal in bargaining power
The purported waiver provision was a printed part of a Form Sales ( In this Case Alleged
Mortgage Agreement ) contract and a necessary condition of the sale ( alleged Loan ). Te
appelle made no showing whatever that the appellants were actually aware or made aware of

the Significance of he fine print now relied upon as a waiver of Constitutional Rights.

THE COURT [N OVERMYER O]_JSERVED TI'IAT,

WI'IEN THE CONTRACT IS ONE OF ADHESION `WI'IERE THERE IS GREA'I'

 

dispari§ in baggaining Ewcr, and where the debtor receives n_othing for the| waiver |

grovision, other l§gal cous_egneuces may ensue.

§E_Q..T.'-!M

[ D ] UE PROCESS IS AFFORDED ONLY BY THE K[ND OF “ Notice “ and “'Hearing “ that
are aimed at establishing the validity, or at least the probable val idity, of the underlinng claim
against the alleged debtor ( Donaid G. Jones and Rebecca B. Duwell ) before he/she can be

deprived of hisfher property. ..

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DONALD G. JONES VS. FIRSI` BANK & TRUST CO.-TRO & lNJUNCI`ION-DAMAGES OVER $¢LBILLION-
NOTICE OF REMAND IN CASE DOCKET FIRST BANK & TRUST CO. VS. REBECCA B. DUWELL & DONALD G.
JONES CASE DOCKETS NO. 2008-5783~H-llf2|l)9-5777-1£ & blm JDC DOCKET NO. 661|026-DIV B

Sniadach v. d Family finance Corp. snpra, at 343 ( Harlan, J. , concurring ) See Bell v. Burson,

supra, at 540; Goldberg v. Kelly, supra, at 267

For the foregoing reasons, the judgments of he District Courts are vacated, and these cases are

remanded for further proceedings consistent with this opinion.

dgjlfhthaplqras~9 )

FIRST AND ST[RLING has damaged Jones ability to recover the ownership privileges as
afforded in Jones rights to enjoy property without unlathl intrusion, and as such has violated

J ones 5"’, and 14th amendment rights, as weli as Jones rights to Own Property.
Relief ls sought under Title 28 Part V Chapter ]]l Section 1651

( a ) The Supreme Court and all courts established by Act of Congress may issue all writ
necessary or appropriate in aid of their respective jurisdictions and agreeable to the usages and

principles of law.

Legal Precedent established in the case titles Schiavo vs. Sehiavo U. S. Distriet Court for the
Middle District Of F}orida ( case No.CV-05-00530-T ) and ( Appellate Docket Nos. 05-

11628and 05~11556-u. s. 11“l circuit court of Appeals March 23, 2005 and Mareh 30, 2005 )

Relief is further sought under FRCP 4, and 28 U.S.C. PART V SECTION 1657, Jones rights to
have this case Expedited before a Jury of Jones peers to hear the facts of the case, and to
immediately Grant unto Jones the right of Award in an amount sufficient to satisfy the damages

caused by First, Stirling, and Quick.

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DONALD G. JONES VS. FlRST BANK & TRUST CO.-TRO & INJUNCI'ION-DAMAGES OVER $4.BILI..ION-
NOTICE OF REMAND IN CASE DOCKET FIRST BANK & TRUST CO. VS. REBECCA B. DUWELL & D¢)NALD G.
JONES CASE D()CKETS NO. 2008-5783-H-12J2009-5777-L6 & 24m .I¢)C DOCKET NO. 660026-DIV B

Re]ief is sought Under the Fuentes Doctrine, and the Order ofthe United States Suprerae Court
remanding the case back to the District Court to grant the relief sought by the Petitioner, namel.y;

Fuentes, and in this case at Bar, Donald G. Jones.

J ones submits for evidence of Ownership, Exhibits which are recorded in Orieans Parish

Recorder of Mortgages, and Conveyances, as well as Notarial Archives.

'I'hese documents prove the Superiority of Donald G. Jones ownership right over those of First

Bank & Trust, or ERA Stirling, and Quick as their agents.

dgilt'bt/esp!qras-IO )

First, Stirling, and Quick have tallawt`\_lllv caused Jones damages in the aggroximate

amount of $22,000,000.00 from their unlawful activities in destrojg`gg Jones Intellectual

Pro;£rties, and in destroying Jones Personal Clothes, ( custom made suits ), Jones religious

Works, ( priceless collections of Works no longer in Print today ), and in Furniture.

Relie[ is sogght under Jones Consritutiona££gg' hts, and BJ`II 01 gg' krs to bg;:g' n Damage Suit
ggninst anr individ_g_al. entitv, ggeng of government when the amount is in excess of §20.00.

Relief is sought under Title 28 Part V Chapter III Section 1651

( a ) The Supreme Court and all courts established by Act of Congress may issue all writ
necessary or appropriate in aid of their respective jurisdictions and agreeable to the usages and

principles of law. Pagessa“'i mmplainuagjm»u=mquinmmanjandamages over szz,azo,uao.oonsnouos/osnum

 

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DONALD G. JONES VS. I"I.RST BANK & TRUST CO.-TRO & INJUN(."I`ION-DAMAGES OVER $II.BILL]ON-
NUl`ICE OF REMAND IN CASE DOCKET FIRST BANK & TRUST CO. VS. REBECCA B. DUWELL & DONALD G.
JONES CASE DOCKETS ND. 2008~5'1'83-|'1-1 212009-57'.|'7-[,6 & 2411' JDC DOCKET NO. 660026-DIV B

Legal Precedent established in the case titles Schiavo vs. Schiavo U. S. District Court for the
Middle District Of Florida ( case No.CV-05-00530-T ) and ( Appellate Docket Nos. 05-

11628and 05-11556-u. s. 11“’ circuit court of Appea}s March 23, 2005 and March 30, 2005 )

Relief is further sought under FRCP 4, and 28 U.S.C. PART V SECTION 165'7, Jones
righni to have this case Expedited before a Jury of Jones peers to hear the facts of the case,
and to immediately Grant onto Jones the right of Award in an amount suf|icient to satisfy

the damages caused by First, Stirling, and Quick.

Jones seeks an amount of M,[N}I],G|)U.l){) for the unlawful selling of Jones property iocz_tted a_t
4631 & 4631 A Annette St.-New ()rleansa la. 70122. This gregg is heir prop_er_tg1 and is
also to be glaced on the Nationa| Historical Sitee records as the Home of Lig‘gant Dongld G.

Jonesl and as such has an intangible value_, and must be resp_ec__ted as such.

Additionally, this home and the Process of Construction of a Horne in the Ati;ermath of
Hurricanes Katrina, and Rita, and how to Double the size of a Home, and Double the value of the
Home is lntellectual property of Jones, and is now removed from J ones ability to Market this Idea
in the Open Capitaiistic Market of America, and more importantly in the Gu]f Regions which are
hurricane prone areas, and as such will always be subject to destruction of property from flood

waters, and wind damage associated with hurricanes.

This Iotellectnal Prop_e_ljy loss of Jon§ is projected to he around $22,000.000.00.
B__e_l_ief is sought ngder FRCP Rl_lle 4. Civil Colnnlaint .

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DONALD G. JONES VS. FIRST BANK & TRUST CO.-TRO & INJUNCTION-DAMAGES OVER $I.BILLION~
NOTICE OF REMAND IN CASE DOCKET FIRST BANK & TRUST CO. VS. REBECCA B. DUWELL & DONAI.D G.
JONES CASE I)OCKE'I`S NO. 2008-5733-1'!-12!2009-5777-1.6 & 24“1 .]DC DOCKET NO. 660026-DIV B

20 DAY STANDING ORDER FOR RIC() VIOLATIONS 28 TITLE U.S.C. SECTION 1962

a b c ANDRctaliation aiustaRICO victimB FRIST STIRL]NGAND UICK

agyrbuesplqm-n )

Jones alleges that these actions of First, Stirling, and Quick were done in a conspiratorial manner,
and consistent with the behavior of RICO perpetrators consistent with RICO-l$ USC PART l C.
73 S. 1519-USC TITLE 18 PART l C. 96 S. 1962 ( athl'u d )1964 ( athru d ), and as Sucll Jones
hereby incorporates their usages of the ]nternet, Phones, faxes, U_ S. Mail in furtherance of these
RICO acts as sufficient enough justification to allow Jones to file within 20 days of the Service of
the Civil Complaint, a complete and concise RlCO statement against defendants First, Stirling,

and Quick.

Religf is sought under FRCP 4. nil RICO-IS USC PART I C. 73 S. 1519-USC TITLE 18

PART 1 C.96 S. 1962| athrud 11964| athrud}

Relief is sought under 'I`it]e 28 Part V Chapter I_[[ Section 1651

Requesting An Order to have Defendants first, Stirilng, and Quick to cease and desist form
any further interference With Jones, and Jones possessions as they relate to Jones income in
his business interest, including rental income, real estate income, and Intellectual property
income through their mis-ase of the lnternet, Phones, and Mail, and such other federally

regulated apparatus used in connection with their RICO activities

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DONALD G. JONES VS. FIRST BANK & TRUST CO.-TR(] & lN.lUN(.'I`ION-DAMAGES OVER S¢.BILLION-
NUI'ICE OF REMANI) IN CASE DOCKET FIRST BANK & TRUST CO. VS. REBECCA B. DUWELL & DONALD G.
JONES CASE I)OCKETS NO. 2008-5783-1'[-12»‘2009-5777-1,6 & 24“' JDC DUCI{ET NO. 660026-DIV B

( a } The Supreme Court and all courts established by Act of Congress may issue all writ
necessary or appropriate in aid of their respective jurisdictions and agreeable to the usages

and principles of law.

legal Precedent established in the case titles Schiavo vs. Sehiavo U. S. District Court for the
Middle District Ot' Florida ( case No.CV-05-00530-T ) and ( Appellate Docket Nos. 05-

11628and 05-11556-1\. s. 11th circuit court of Appeals March 23, 2005 and March 30, 2005 )

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rights to have this case Expedited before a Jury of Jones peers to hear the facts of the case,
and to immediately Grant unto Jones the right of Award in an amount sufficient to satisfy

the damages caused by First, Stirling, and Quick.

FRIST ST[RIL]NG AND QUICK FE.DERAL WHISTLEBLO“FERS COMPLAINT OF JONES
AND 'I`I-IESE AC'I`IONS ARE MONOPOLES AND ARE CONSISTENT WITH THE ROOT
CAUSE OF OUR UNITED STATES FlNANClAL AND ECONOI\¢HCAL CRISIS WI~[[CH

CAUSED CONGRESS TO ENACT TI-IE RECOVERY ACT OF 2009-TARP ACT OF 2008

dg_illht!esplqras-ll )

FIRST, STIRLING, AND QUlCK are part ofa larger problem Which engu]fs America, the U. S>
Treasury, the Federal Reserve Board, the Department of l-IUD, and the American Dollar as a w
hole in their M]s-Use of the Legal ,and Un- Constitut;ional tenet of louisiana Executory Process

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DONALD G. JONES VS. F[RS'I` BANK & TRUST CO.-TRO & INJUNCI'ION-DAMAGES OV`E.R $4.BILLlON-
NOTlCE OF R.EMAND lN CASE DOCKET FlRST BANK & TRUST CO. VS. REBECCA B. DUWELL & DONALD G.
JONES CASE DOCKETS NO. 2008-5783-}1-1?4"2009-5777-1.6 & 24“' JDC I}OCKET NO. 660026-DIV B

This un-Constitutional law has been misused by individuals whom look legitimate for all intents
of Public deception, but in the Core of their motives lie the vulturous acts of Unlawful Seizure in

violations of Due Process of Law, as guaranteed by our 5'1', and 14111 Amendment.

The perpetrators of these acts worked, and still are working to cause lrreversible, and irreparable

harm to our National Economy, and Our Nationa] Econornic way of living.

The Defendants have acted in a way which has caused Bil]ions of Dollars in Povexty in
Louisiana, and Mississippi to be unlawfully sei;aed, and sold, and the bill for these unlawqu

actions to be born by the American people .

Such evidence is already established in Congress enacting the TARP Act of 2008, the recovery
Act of 2009, and such other Congressional remedial actions to stabilize Our U. S. Dollar, and the

renmants of it’s True value, when taken into context with World economic Dollar ratio valees..

'Illese actions of fraudulently gaining an unlawful ownership of another American citizen’s
property is not limited to Donald G. Jones, or Rebecca B. Duwell, but in fact is also the root
element which is essential to bringing this Civil Complaint , and this aspect of the Civil
Complaint under the federal Whistleblowers Statute to eliminate any furtherance unwarranted
expense to Our U. S. Treasury, and U. S. Federa.l Reserve as well as the other Departments of
Federal government which bear the cost of the TARP Act of 2008, and The Recovery Act of

2009.

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DONALD G. JONES VS. Fl'RS'I` BANK & TRUST CO.-'I'RO & l`NJUNCl'lON-DAMAGES OVER M.BILLION-
NOTIC`E OF REMAND IN CASE D()CKET FIRST BANK & TRUST CO. VS. REBECCA B. BUWELL & DONALD G.
JONES CASE DOCKETS NO. 2068-5783-H-12I2009-5777-M & 24“ JDC DOCKET NO. 660[|26-])“" B

Wherefore J ones without further deliberation on the subject matter hereby make demand upon
Defendants First, Stirling, and Quick , as well as the other banks, and MoLtgages in a Class

action Sit to be supported by the l_.__egal arms of the Federal and State Government to join
Jones in A Friend of the Lig'gations, and to use every mean_s_ to retg~,ve form these entities a

return of the unlawnt fund§ and gains associated with these Un-Constitutional actions.

Relief is Sought under the Federal Whistleblowers Statute (False Claims Act of 1863 Revised

1936 ).

First, and it’s agents over the past 5 years have submitted to the Federal Reserve, the U. S.
Treasury, and such other Federal agencies repons, request for funding, request for loans, request
for Deeignation as A Preferred Lender, and Community Reinvestment Entity, as well as a
Community Deveiopment agency in t he form of First Col:mnunity Development Ar'rn, namely
FIRST BANK & TRUST COMMUNITY, AND FIRST BANK CENTER COLUMBUS

DEVELOPMENT CORPORARTION PROPERT[ES, L. P., etc.

First, Stirling, ( and Defendants to be added in the future amended compliant for C]ass Action
Status ) have received in excess of over $40,000,000,000.00 in Federal Loans, Community
Development Funding , and New Markets Tax Credits funding , and has mis-used these funds in
furtherance of their RICO, and Monopoles activities, all to which have assisted the causes of Our
Present National Financial & Economic Security Crisis, which has forced Congress to pass the

TARP Act of 2008, and the Recovery Act of 2009-

Page-JB-civil complaintfdgi/fbt/erafquick/tro/injunddamages over $ZZ,SZI]M.IXIUSEDLMSJ'[|§WBII]

Case 2:10-cv-00939-HGB-SS Document 1 Filed 03/22/10 Page 39 of 64

DONALD G. JONES VS. FIRST BANK & TRUST CO.-TRO & lNJUN(,'I'ION-DAMAGES OVER H.BILLION-
NOTICE OF REMAND IN CASE DOCKET FIRS'I` BANK & TRUST CO. VS REBECCA B. DUWELL & DONALD G.
JONES CASE D()CKETS NO. 2008-5783-H-12f2009-57‘77-L§ & 24'"' .]])C DOCKET NO. 660(¥£6-DIV B

Plaintii"f Jones is entitled to receive the appropriate Reward under this Qua Tam Provision of the
False Claim Act, proportioned to the return of funds which First, and Stirling shall, and must
return back into the hands of the Federal, and State Govemments to which they made the False

Claims in violations oft he False Claims Act of 1863, and 1986.

The Federal encies which these False Ciaims were made to are the following, but not

limited to:

U. S. TREASURY, U. S. FEDERAL RESERVE, U. S. DEPAR'IMENT OF HUD, U. S.
DEPARTN[E`.NT OF COMMERCE, U. S. DEPARMNT OF AGRICULTURE,

U. S DEPARTMENT OF TRESURY’S COMMUNI'I'Y DEVELOPM`ENT F]NANCIAL
INST]_TUTE, UNDER TI-[E NEW MARKETS TAX CREDITS ACT, AND UNDER THE

KETRA ACT OF 2005, ETC.

REL[EF IS FURTHER_ SOUGHT UNDER THE PROVISIONS OF THE'. ALL WRITS ACT
FOR A WRIT OF MANDAMUS TG ISSUE TO THE SECRETARY (JF THESE AGENClES
TO JO]N ]N A FRIENDS OF THE QUA TAM PR()VISIONS OF THE FALSE CLA]MS ACT,
ALL IN ACCORDS WITH TI-]E RECOVERY ACT OF 2009, AND THE TARP ACT ()F 2008,
and such other federal authorities which are mandated by federal law, as authorized by Article l

Section 9 Clause 7 of Our United States Coastitution-

Prevailing Case in the Matter of Jones rights to Bring an Individual Civil Comgl_i_”ant Und_g_g

the False Claims Act, is Governed bv U. S. Sugreme Cot_lrt Cgse Verilioat A_gencv of

Natural Resources vs. Um'ted States “ The Higl_i Court determined in this case that Citizens

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DONALD G. JONES VS. FIRST BANK & TRUST CO.-TRO & INJUNCl`lON-DAMAGES OVER M.BILLION-
NOTICE OF REMAND lN CASE DOCKET FIRST BANK & TRUST CO. VS. REBECCA B. DUWELL & DGNA.LD G.
JONES CASE DOCKETS NO. 2008-5733-1'1-12!2009-5777»1.6 & him .]'DC DOCKET NO. 660026-DIV ll

have standing to file a “ Qua Tam Action under the False Claims Act of 1863 amended in

1986 “ , which Jones Civil Complaint envelopes

Relief is sought under Qua Tam Provisions of the False Claim Act

Reliet` is sought under Title 28 Part V Chapter l]I Section 1651

( a ] The Supreme Court and all courts established by Act of Congress may issue all writ
necessary or appropriate in aid of their respective jurisdictions and agreeable to the usages

and principles of law.

Legal Precedent established in the case titles Schiavo vs. Schiavo U. S. District Court for the
Middle District 01' Florida ( case No.CV-05-00530-T ) and ( Appellate Docket Nos. 05-

11628and 05-11556-u. s. 11th circuit court of Appeals March 23, 2005 and Marclt 30, 2005 )

Reliel' is farther sought under FRCP 4, and 28 U.S.C. PART V SECTION 1657, Jones
rights to have this case Expedited before a Jury of Jones peers to hear the facts of the ease,
and to immediately Grant unto Jones the right of Award in an amount sufficient to satisfy

the damages caused by First, Stirling, and Quick.

dgilfht!esplqras-l?z )

FIRST, AND FIRST AFF]LIATES , such as FIRST BANK & TRUST COMWINITY
FIRST BANK CENTER C{)LUMBUS DEVELOPMENT CORPORARTION PROPERTIES,

L.P., and certain other banks, Community Development Entities, Community Development
Page»-¢|I}-civil complaioUdngthera/quiekltro)'iojunddamages over S22,320,600.|]0USED1)03N9!2010

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DONALD G. JONES VS. FIRST BANK & TRUST CO.-'I'RO & lNJUNCTION-DAMAGES OVER $4.BILI..ION-
NO'I'ICE OF REMAND IN CASE DOCKET FIRS'I` BANK & TRUST CO. VS. REBECCA B. DUW’ELL & DONALD G.
JONES CASE DOCKETS NO. 2008-5783-11-12}2009-5777-1»6 & 24m JDC DOCKET NO. 660026-|)[\" B

Financial lnstitutions, whom are located at 909 Poydras St.-New Orleans, La. 70112, have made

false claims to receive New Markets Tax Credits, Recovery Act of 2009, TARP Act of 2008,

KETRA 2005 and it’s amendments in2006 through 2009 hinds, and have received in excess of

over $42,000,000,000.00 in Federal funds through the various controlling Federa] agencies for the

following unlawful usages:

1)

2)

3)

To falsify Loan documents, and distribution of the Federal Funds in order to finance their
administrative Costs, their unlawful acquisitions of properties from Katrina, and Rita
victims, to facilitate the establishments of Majority firms, whom also collaborate under
the Federal violations as associated under RICO-l 8 USC PART I C. 73 S. 1519-USC
TITLE 18 PART l C. 96 S. 1962 ( a tlnu d )1964 ( athru d ) , to deprive Lower income
firrns, and minority firms of the financial ability to compete in the open markets as
guarantee d by the Comrnerce Clause of Article 1, and Article 2 of Our united States
Constitution.

Engage in the unlawful redistricting of voters, in violations of federal redistricting laws,
by engaging in Acts to prevent Katrina, and Rita victims from returning back to their Pre-
Katrina, and Rita neighborhoods, and businesses

By engaging in unlawful acts of Discrirninating in allowing loans, loans refinancirrg, and
property ownerships to remain in the owners hands, in order for the owners to engage in
Voter’s rights District of their choice, all in deliance, and under the Cloak of deception,
as Prernier Lcnders, Grant Awardees of New Market Tax Credits, U S I-IUD grants, and
such other federal subsidies, all in violations of Vl()LATIGNS OF TITLE VI S. 601-

602-603 OF CIVIL RIGHTS ACT.

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Case 2:10-cv-00939-HGB-SS Document 1 Filed 03/22/10 Page 42 of 64

I)ONALD G. JONES VS. FIRST BANK & TRUST CO.-TRO & INJUNCTIUN-DAMAGES OVER M.BILLION-
NUI`ICE OF REMAND lN CASE DOCKET FIRST BANK & TRUST CO. VS. REBECCA B. DUWELL & DONA.LD G.
JONES CASE DOCKETS NO. 2008-5733-H-12/2W-5777-L6 & 241-g JDC DOCKE'I` NO. 660026-1)“7 ll

Reliei` ls sought under Title 23 Part V Chapter III Section 1651

( a ) The Supreme Court and all courts established by Act of Congress may issue all writ
necessary or appropriate in aid of their respective jurisdictions and agreeable to the usages

and principles of law.

dgjilbtlesp/qras-l¢t )

First, First Bank & Trust Commanity Development Corporation, first Bank Center Colurnbus
Properties, as a recipient of Federal funds as referenced above, and hereby incorporated in this
allegation, used federal Funds to do the following in furtherance of VIOLATIONS OF TITLE VI
S. 601-602-603 OF CIV]L RIGHTS ACT~ RlCO-l 3 USC PART l C. 73 S. 1519»USC TITLE 18
PART l C. 96 S. 1962 ( a thru d )1964 ( a thru d ) orchesnated a Devious means of depriving
lones, and other members, and victims in the aftermaths of hurricanes Katrina, under
psychological duress to enter into transactions in violations of Honest Services fraud Amendment
of 18 U. S. C. section 1346 ( the federal mail fraud and wire fraud statute ) , added by the United
states Congress in 1988,which states : “ for the purposes of this chapter, the term, scheme or
artifice to defraud includes a scheme or artifice to deprive another of _tlrgl__r_r__ta_r_rg'bh=._RigLof

Honest Services.

l) First renegotiated existing Mortgages, and/or began Mortgages anew in order to entice
the victims of hurricanes Katrina to commit their road Home Gr'ant Monies to improve
the properties with the short rated grants, only not to be able to complete the task, as

these individual’s income would be suddenly disturbed, or eliminated entirely.

Page-tZ-civil complailt/dgjffhtlera!quicldtro!injunddamages over $22,320,000.00USEDLN3I0912010

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DONALD G. JONES VS. FIRST BANK & TRUST CO.-TRO & lNJUNCl"ION-DAMAGES OVER $4.BILLION-
NUI'ICE OF REMAND lN CASE DOCKET F[RS'I` BANK & TRUST CO. `VS. REBECCA B. DUWELL & DONALD G.
JONES CASE DOCK.E'IS NO. 2008-5783-1'[-12»'2009-5777-1»6 & 24“' JDC DGCICET NO. 660026-DIV B

2) First would include in the language of the Mortgages Louisiana Executory Process , and
would accelerate the new Mortgages, and would foreclose on the properties, without any

just cause.

3) First would then rush into the Court houses and achieve a writ Of Seizure, and Sherifi`
sale knowing full well the victims were with out any financial means to hire an attorney
to prevent First from unlawfully, and Un-Constitutionally Seizing, and selling the
property at a Scam, Window Dressing Sheriff Sale in both Orleans, and JeH`erson Parish.

4) First would then be the successful bidder, and would not pay the required cash for the

property to the Sheriffs of Orleans, and Jefferson Parish, but in fact would claim to have

given a credit on the alleged defaulted loans.

5} First would then take the properties and sell them within their RICO circle, and would
make a profit in some cases as mush as $30,000.00 on each $100,000.00 of property

value.

6) The benefits of these violations of the Honest Services fraud clause of 13 U. S. C.
Section 1346 are Politically, racially, Socially, and Econonrically beneficial to first, and
other Majority interest whom live under the banner of White SuprernacyJ while calling it

the Law.

'r') First would benefit the political spectrum of their Political party ( which has been
determined to be predominantly republican ) by turning Orleans Parish, and Jefferson
Parish into an entirely White racially dominated Voting Hub with strong allegiances to

the Republican party.

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Case 2:10-cv-00939-HGB-SS Document 1 Filed 03/22/10 Page 44 of 64

DONALD G. JONES VS. FIRST BANK & TRUST CO.-TRO & l'N.lUNCI`ION-DAMAGES OVER $4.BlLLlON-
NO'I`ICE OF REMAND IN CASE DOCK.ET FIRST BANK & TRUST CO. VS. REBECCA B. DUWELL & DONALD G.
JONES CASE DOCKETS NO. 2008-5783-}[-12/2009-5777-[5 & 24“' .]DC DOCKET NO. 660026-1}1\" B

8) First would then be able to control the Financial Empowerment of other minorities
through a sys tern of tn`tion where they would encourage these other minorities to relocate
in these unlawfully seized homes in Pre-Katrina and Rita Ahican American

neighborhoods

9) First would then be able to determine Congressional seats which would condone to vote
for allocations of Federal Funds to finance their RICO, and Discriminatory 100 year
Master Plan, all within the conlines, and the Urnbrella of Protect;ion of Federal dollars, in
the Trillions over the life of 20 years.

10) The records of the recorder of Mortgages, the Sheriff` departments, the Court House of
Orleans Parish confirms these unlawful RICO, and Discriminatory, and Unlawful
redistricting of the voters lines through violations of Title VI sections 601-602-603of the

Civil Rjghts Act .

REL[EF IS SOUGHT UN])ER VIOLA'I`IONS OF TITLE VI S. 601-602-603 ()F CIVIL

RIGHTS ACT-

REL]EF IS SOUGH'I` UNDER RIC()-IS USC PART l C. 73 S. 1519-USC TITLE 18 PART

10.96s.1962(athrud)19s4(arhrua}-

Relief is sought under Relief Is sought under Title 18 U. S. C. SECTIONS 1346-H(]NEST

Services Fraud

Pnge-M-eiv'll complaioddgjfilrtfera!qnick/trolinjnnddamages over $ZZ,SZGMMUSEDIM$M/MIO

 

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DONALD G. JONES V& FlRS'l` BANK & TRUST CO.-'I'RO & I.NJUNCTION-DAMAGES OVER $4.BILLION-
NOTICE OF REMAND IN CASE DOCKET FIRST BANK & TRUST CO. VS. R.EBECCA B. DUWELL & DONALD G.
JONES CASE DOCKE'I`S NO. 2008-5783-1'1-1 212009-5777-116 & 24“1 .lDC DOCKET NO. 660026-DIV B

(a ) The Supreme Court and all courts established by Act of Congress may issue all writ
necessary or appropriate in aid of their respective jurisdictions and agreeable to the usages

and principles of law.

Legal Precedent established in the case titles Schiavo vs. Schiavo U. S. District Court for the
Middle District Of Florida ( case No.CV-05-00530-T ) and (Appellate Docket Nos. 05-

116283nd 05-11556-u. s. 11th circuit court of Appeals March 23, 2005 and March 30, 2005 )

Relief is further sought under FRCP 4, and 28 U.S.C. PART V SECTION 1657, Jones
rights to have this case Expedited before a Jury of Jones peers to hear the facts of the casc,
and to immediately Grant unto J ones the right of Award in an amount sufficient to satisfy the

damages caused by First, Stirling, and Quick.

Relief is further sought under the All Writs Act to grant an immediate Writ Of Mandamus
compelling the U. S. Attorney Jim Letteu, and the Inspector Generals, and Legal Otiices of
these Federal Agencies to engage in an Immediate lnvestigation, and prosecution of these
violations, as is mandated under the Federal Statutes which have been violated

Such relief as the return of the Propcrties Unlawl'ully seized and sold by First, and such

other l]efendants as the evidence will show in the future.

Legal Precedent established in the case titles Schiavo vs. Schiavo U. S. District Court for the
Middle District Of Florida ( case No.CV-05-00530-T ) and ( Appellate Docket Nos. 05-

11628and 05-11556-u. s. 11‘h circuit court of Appeals March 23, 2005 and March 30, 2005 )

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Case 2:10-cv-00939-HGB-SS Document 1 Filed 03/22/10 Page 46 of 64

DONALD G. JONES VS. FlRST BANK & TRUST CO.-TRO & lNJUNCI`ION-DAMAGES OV'ER $4.Bll.1.ION-
NOTICE OF REMAND lN CASE DOCKET FIRST BANK & 'I`RUSI' CO. VS. REBECCA B. DUWELL & DONALD G.
JONES CASE DOCKETS NO. 2008-57834[-12!2009-5777-1)6 & 2415 J'DC DOC|{ET NO. 660026-DIV B

Relief is further sought under FRCP 4, and 28 U.S.C. PART V SECTION 1657, Jones rights
to have this case Expedited before a Jury of Jones peers to hear the facts of the case, and to
immediately Grant unto J ones the right of Award in an amount sufficient to satisfy the damages

caused by First, Stirling, and Quick.

Relief is sought forth under Remedies for VIOLATI()NS OF TITLE VI S. 601-602-60§ OF
CIVIL RIGHTS ACT-through the Secretary of the U. S. Department of HUD, U. S. Treasury,

it’s sub-agency, namely ; the CDFI which is the controlling entity for the New Markets Tax
Credits, and all other CDFI, and CDE hinding, and grants to investigate the complaints, and to
retrieve from First, et al all unlawful funds which were derived from the violations of TITLE VI

S. 601-602-603 OF CIV[L RIGHTS ACT-agginst Jones in this Civil Compliant.

JONES CIV]L COM]’LA]NT TO REV]]BW TE[E DENIAL OF JONES DUE PROCESS
RIGHTS BY T]E[E LOUISIANA SUPREME COURT{ APPEALWRIIS NO. 2010-C-0254
& 2010-C-0257 ) -LOUISIANA tim CIRCIT COUR T ()F APPEALS ( 2009-C-1545 &
2009-C-1355 )-AND THE LOWER STATE COUR’I`S OF ORLEANS AND JEFFERSON

PARISH IN CASE DOCKETS N(]. 2009-5777-2008-5783-AND 24m JDC NO. 660026

JONES HAS PRESENTED before each of the above referenced State Courts Jones
assertion of Jones United States Constitutional rights are being violated by the Louisiaua
legislatures enactment of the law styled Louisiana Executory Process law, as weil as Jones

Constitutional rights to intervene in matters involving J ones narne, and/or Jones properties

Pl.ge-46-civil colplaint!dgjHhtfera)'quiek!tro/injuncfdamages over $22,320,000.00USE|)L!03)09/‘2010

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DONALD G. JONES VS. FlRST BANK & TRUST CO.-TRO & lNJUNCI'ION-DAMAGES OVER $d.BlLLION-
NOTlCE OF R.EMAND lN CASE DOCICET FIRST BANK & TRUST CO. VS. REBECCA B. DUWELL & DONALD G.
JONES CASE DOCKETS NO. 2008-5783-}!-].2!2009-5777~1£ & 241“ JDC DOCKET NO. 660026-DW B

Under each of the above Number cases Jones has been denied the lights to Due Process of Law
under the 5']‘, and 14th amendment J ones has additionally challenged the right to the State of
Louisiana violating the Constitutional Prohibition against State Abridgement as contained in Our

United states ld'h amendment to Our United States Constitution.

lo each Legal document filed before the highest, and lowest State Court Jones has been denied his

Constitutionally protected rights.

dgjlflrt/osplqrasllscll¢lcalocdclizdthjdc-l )

Jones is entitled to a federal review of these matters as a matter of Constitutional rights within the
United States Eastern District court for Louisiana, and/or the U. S. 5'][l Circuit Court of Appeals,

prior to bringing it before the United States Supreme Court..

Wherefore Jones hereby incorporates the following issues which were petitioned, and appealed

before the above State Courts, and was denied his Constitutional rights by each State Court.

J ones is not prohibited in bringing this Civii Cornplaint regarding the Constitutionality of the
Lower State Court Judgments, because Jones presented these Constitutional issues in a timely

manner before each Lower State Court.

Wherefore Jones is not prohibited by Rooker-Feldman in asking for this United States disn‘ict

Occur to issue an Ordcr declaring Louisiana Exeeutory Process law as Un-Constitutionality.

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D()NALD G. .IONES VS. FIRST BANK & TRUST CO.-TRO & lNJUNCI'ION-DAMAGES OV`E.R Sd.BlLLION-
NOTICE OF REMAND lN CASE DOCKET FlRST BANK & TRUST CO. VS. REBECCA B. DUWI‘]LL & DONALD G.
JONES CASE DOCKETS NO. 21|08-5783»}1-1 212009'-577'7~16 & 24m JDC DOCKET NO. 660026-DIV B

lt is the function ofghe U. S. Dr‘s_trr`ct .Iu_dge Mna Gershon on ll@[ch 10, 2010 to determine the
Constr'tutrhnah°tp ofanv law, as is indicated in the ofA CORN vs. Um°ted States Of America
wherein this cgse the I_Brooklvn Federal .IBe N:`m£?ershon declared ag Wednesdgg March

10z 2010, that the withholding of Federal funds to ACORN is Un-Constit‘utional.

APPEAL Ol:"` JONES AS PRESENTED TO THE LOIUISANA SUPREl\r[E COURT

AND ALL SU'BSEQU'EN'I` MOTIONS INCLUD]NG REOUEST FOR STAY

dgi;rhe¢sp;qrasnscnmmcwznhjd¢-z )

La. Supreme Court Denied the following Constitutional relief of Jones on Marr:h l, 2010.
LOUISIANA SUPREME COURT

FIRST BANK & TRUST, ET AL LSC D(]CKET NO: 21010-€-0257 & 2010-C-0Z§§

VS.
REBECCA B. DUWELL & DONALD G. }ONES WRIT NO: LA 4CA-2009»C-1545 & 1355

DONALD G. JONES/CO-DEFENDANT!APPELLANT

 

LSC RULE X SECTION ( 2 ) ( e ) EMERGENCY MOTION TO ISSUE ORDER OF STAY
AND THE RELEASING OF APPELLANT ]ONES REAL ES'I`TE AND PERSONAL
PROPERT[E`.S UNLAWFULLY SEIZED FROM APPELLANT ]ONES HOME AND MOTOR
VEHICLE PENDING APPELLANT JONES WRITS OF CERTIORARI & MANDAMUS LSC

NOS. 2010-C~l)254 & 2010-C-0257 PRESENTLY BEFORE OUR LA. SUPREME COURT
Page-lS-eivil eomplainddgiilbt{eralquicklrrohnjnnddamagcs over SZIJZU,MUSEBU(IWIZGIU

 

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DONALI} G. JONES VS. FlRST BANK & TRUST CO.-’I`RO & ]INJUNC]"ION-DAMAGES OVEH $4.BILLION»
NOTICE OF REM.AND lN CASE DOCKET FIRST BANK & TRUST C(). VS. REBECCA B. DUWELL & DONALI) G.
JONES CASE DOCKETS NO. 2008-5783-H-12D0|)9-5777-[)6 & him JDC DOCKET NO. 660026-DIV B

PURSUANT TO THE CONSTITUTIONALITY OF LOUISIANA’S EXECU'I`ORY PROCESS
LAW-VIOLATES STATE SOVEREINTY RIGHTS-STATE’S SOLVENCY RIGHTS-U. S.
CONSTITUTIONAL SOVEREIGNTY RIGHTS-U. S. CON STlTUTlONAL SOLVENCY
RIGHTS-INDIVIDUAL DUE PROCESS OF LAW RIGHTS-INDIVIDUAL GOOD FAITH &
CREDIT D{)CTR[NE OF BOTH TI-[E U. S. CONSTI"[UTION AND LA. CONSTITUTION

 

NOW COMES [NTO OUR HONORABLE L{)UISIANA SUPREME COURT ,
DONALD G. JONES in “ Pro Se form “, a person of full majority, an American Citizen
XX"X-XX-Z?ZZ, born in the City Of Orleans, State of Louisiana from parents whom were
Citizens of the United States of America, as well as citizens of the State Of Louisiana, an
American Citizen whom is a Co-Guarantor to the Federal Debt, and obligations of funds
appropriated by Congress under Article I, Section 9, Clause 7 ( until death ) and
American citizen entitled to the benefits of the Good Faith, and Credit Doctrine of our
United States Constitution, The State Of Louisiana, and the federal funds, and programs
enacted by the Honorable United States Congress for the sole benefit of Plaintiff, as well
as all other American Citizens ali in accords with Article l, Section 9, Clause?, as well as
the Legislature of the Great State Of Louisiana, a concerned American Patriot Whom is
sworn to assist our Judicial Systems in protecting our Country against enemies foreign,
and domestic, seen, or unseen, today and forever more, a prior resident of Orleans Parish,
State Of Loujsiana, a hurricane Kat;rina and Rita victim ,now residing in Fayette County,
Georgia, a plaintiff, defendant in 4 Civil lawsuits ( Orleans P’arish CDC Case Dockets

NOS. 2008-5783 & 2009-5777- Jefferson 24th IDC Case Dockets Nos. 660026 & 649659)

Page-49-civi] complaint/dgi/fhtfera/quick/trufirljunc!damages over $ZZ,SMM.DBUSEDLNSMMIG

 

Case 2:10-cv-00939-HGB-SS Document 1 Filed 03/22/10 Page 50 of 64

DONALD G. .IONES VS. FIRST BANK & TRUST COd-TRO & iN.lUNCl"ION-DAMAGES OVER $4.BlLLION-
NOTICE OF REMAN|) lN CASE DOCKET FIRS'I` BANK & TRUST CO. VS. REBECCA B. DU‘WELL & DONALD G.
JONES CASE DOCKETS N(). 2006-5783-H-12f2009-5777-l,6 & 24m JI)C DOCKET NO. 660026-DIV B

in the State Of Louisiana’s Civil District Court, all involving Louisiana’s Executory
Process Law, as Well as the La. 4Th Circuit Court of Appeals, United States District Courts
(Case Dockets No. 08-1470 USEDL-U. S. 5'3‘ CA No. 08-31244-1~09-cv-2273 USNDG-
ns 11"‘ CAo9-14742-B- 1-03-cv-2326 UsNDG- Us 11“‘ CA No. 09-644€ and 09-

15095-C ) , and the United States Supreme Court( Docket NO. not assigned as Yet ).

N()W COMES APPELLANT Donald G. Jones ( hereinalter referred to as Jones ) appearing in “
Pro Se Form “ a person of iiill majority, and a party in the above referenced lawsuit, requesting
Leave of Our Most I-lonorable Louisiana Supreme Court to GRANT UNTO APPELLANT
JONES AN EMERGENCY ORDER OF STAY AND AN ORDER INSTRUCTING FIRST
BANK & TRUST-ERA STIRLING REALTOR( AND»'OR THEIR PURCHASER OF
APPELLANT JONES PROPERTY LOCA'[ED AT 4631 & 4631A ANNETTE ST.-NEW
ORLEANS, LA. 70122 ) , AND QUICK RECOVERY AUTO SALVAGE, ETC. to release unto
Appellant ] ones the Pmperties which were unlawfully seized from Appellant Jones home (
FURNITURE-CLOTH[NG-PICTURES-CONTRACTORS EQUlPMENT-lZ BOXES AND 2
LARGE SUIT CASES WlTl-I LEGAL DOCUMENTS-ETC- ) , and 2006 Dodge Ram Piclcup

Truek.

l\/[ERITS OF ORDER TO §TAY AND ORDER TO I_SSUE RELEASE OF APPELLANT
JONES PROPERTII_ES AND.“OR STAY ON ANY MORTGAGESISALES ()F
APPELLANT JONES PROPLRTY LOCATED AT

4631 & 4631 “ A “- ANNET'I'E ST. -N.O.. LA. 7012_2

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DONALD G. JONES VS. FIRS'I` BANK & TRUST CO,-TRO & INJUNCI`ION-DAMAGES OVER $4.BILLION-
NOTICE OF REMAND IN CASE DOCKE'I` FlRST BANK & TRUST CO. VS. REBECCA B. DUWELL & DONAI.D G.
JONES CASE DOCKETS NO. 2008~5733-1¥-12/2009-5777-15 & 24m JDC I)OCKET NO. 660026-DIV B

MAY IT PLEASE OUR MOST HON. LOUISIANA SUPREME COURT TO GRANT
LEAVE OF APPELLANT JONES TO RESPECTFULLY SUBM]T FOR EMERGENCY
GRANT[NG THE FOLLOW]NG MOHON FOR AN ORDER TO STAI’, A]\¢L_RELMSE of

Appellant J ones Properties as stated above:

On or about January 29, 2010 ( mail post marked ) February 1, 2010 ( actual LSC
Clerk stamped date ) Appellant Jones filed before Our Most Hon. Louisiana
Supreme Court 2 Appeallerits Nos. 2010-C-0257 & 2010-C-0254 for both
Certiorari, and Supervisory issues which pertain to Appellant Jones Properties

located at 4631 & 4631 “ A “ Aunette St.-N. O. La. 70122.

l) Appellant Jones filed these Writs under the Federal and State Constirutional
Protections of Denial of Appellant Jones 5“' and blm Amendment, as well
Unlawful Seizure, and Sale of Jones properties without a Deprivation Hearing as
is afforded in the Fuentes Doctrine of Our Federal Courts, and of Complirnentary

Docnines within the State of Louisiana’s Prevailing Precedents Cases.

2) Appellant J ones respectfully asked Our Most Honorable La. Supreme Court to
determine the Constitutionality of the Louisiana Executory Process law, as it
relates to an Abridgemenc of Appenam Jones 5“1, and 14‘*’ Amendmem rights ss
guaranteed under Our U. S. Constitution, as well as the Constitution of the Great

State of Louisiana.

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DONALD G. JONES VS. FIRS'I` BANK & TRUST CO.-'I'RO & lNJUNC'I'lON-DAMAGES OVER M.BILLION-
NOTICE OF REMAND IN CASE DOCKET FlRS'I` BANK & TRUST CO. VS. REBECCA B. DUWELL & DONALD G.
JONES CASE DOCKETS NO. 1008-5783»}{-12/2009-5777-1.6 & ?.d"'n .]DC DOCKET NO. 660026-DIV B

3) Appellant Jones further asked Our Most Honorable La. Supreme Court to
additionally weigh this Law in light of the Preemptive Federal Law Of Article I,
Section 9, Clause 7, and Article II, the Commerce Ciause, Recovery Act of 2009,
TARP Act of 2008, and the Patriot Act of 2002 ( and it’s subsequent renewals )
as they relate to Our Nation’s, and the Great State Of Loui_siana Solvencyr Rjghts,
Our National Financial Mortgage & Financial Security, and how this Un-
Constitutiona] Law is deteriorating the Value of Our U. S. Dollar, and is truly a
Legal Weapon of Financial Destruction, which if applied in an Orchestrated
Manner could evict Millions out of their homes in less then 90 days from the date
of the filing of the Executory Process until the American Citizens properties are
sold on the Steps of any Sheriff Building.

4) During the Course of Appellant Jones awaiting for Our Most Honorable
louisiana Supreme Court to act upon Appellant Jones Emergency “ Priority
Writs “, the Respondents , namely; First Bank & Trust et al, ERA Stirling
Realtors ( agents of First Bank & Trust ) and Quick Recovery Auto Salvage (
agents of ERA Stirling ) have unlawfully entered into Appellant Jones properties,
and have seized over 12 boxes of documents which are evidence in Support of
Appellant Jones cho Federal Whistleblowers Discrimination Etc. civil
Complaints, as well as Appellant Jones Anti Trust -etc. cases, and the Present
litigations before Our Most Honorable louisiana Supreme Court, and the other
companion suits in Orleans CDC NO. 2008-5783, and Appeal Case NO. 660026 in

the 24til IDC, in the MOST MALICIOUS DUBIOUS AND CRIM_HVAL M¢LNNER

 

ILMGINABLE.

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DONALD G. JONES VS. FIRST BA.NK & TRUST CO.-'I'RO & INJUNCI`lON-DAMAGES OVER M.BILLION»
NOTICE OF REMAND IN CASE D(]CKET FIRS'I` BANK & TRUST CO. VS. REBECCA B. DU‘W`ELL & DUNALD G.
JONES CASE DOCKETS NO. 2003-5783-|-]-12/2009-'57'77-1§ & 24“[ J'I)C DOCKE'I` NO. 660026-DIV B

5) APPELLANT JONES NEVER RECEIVED any Notice from Their attorney of
record, namely; Mr. Mark C. Landry, or any of the agents of Pirst Bank & Trust,
requesting entry, or alerting Appellant Jones of the Sale of Any Appellant Jones

properties while they are pending Appeal, and such other legal outcomes

6) Appellant J ones has been in contact with Attorney Mr. landry at several
Hearings, over the last three months in Jefferson Parish, and in direct Phone
Communications, as well as in Email Communications with Mr. Landry, and
there has never been any mention of thee events intending to occur, or to have

occurred.

7) Mr. Landiy, Mrs. Susan Campbell of ERA Stirling, Mr. Ike Spears of the
Honorable Clerk of Court, Mr. Dietweller representing the Honorable Sheriff`
Paul Valteau of these events on February 22, 201{}, and February 25, 2010 of
these unlawful intrusions, and Appellant .l ones has made Amicable Dernand for
the return of the Properties, but has of this date received No Response in these

regards.

8) Mr. Landry, Mr. Dietweller, and Mr. Spears have been Informed of the Federal
violations of Obstruction of lustice, and the deliberate and malicious destruction

of evidence in Support of a Federal Crime ( s ).

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DONALD G. JONES VS. FIRS’I` BANK & TRUST CO.-TRO & INJUNCT]ON-DAMAGES OVER S4.BILLION-
NOTlCE OF REMAND IN CASE DOCK.ET FIRST BANK & TRUST CO. VS. REBECCA B. DUWELL & DONALD G.
JONES CASE D(]CKETS NO. 2008-5783-H-12I2009-57'77-116 & blm JDC DOCK.ET N(). 660026-DIV B

9) Additionally, Mr. Landry is fully aware of the Fuentes Vs. Shevin (U S C NO.
70-5039-DECIDEIJ JUNE 12, 1972- TOGE'I`I~[ER WITH NO. 70-5138
PARHAM ET AL VS. CORTESE ET AL ), and the requirement associated by
Federal Law, and Constitutional Law of the need under the 14"’ Amendment of
Our united States Constitution for a deprivation hearing to be heard before any

Lawful OWner( s ) can be deprived of their properties.

10) Mr. Landry, Mr. Dietweller, and Mr. Spears were ali sent copies of Appellant
J ones Ownership documents to the properties listed above in La. Supreme Court
Case Dockets No. 2010-C-0254 & 2010-0-0257 On February l“, 5“', and 8th as is
demonstrated by the Honorable Clerk Of court for Our Louisiana Supreme Court

records will show.

ll) The Leases Appellant Jones holds on the properties which are paid in full until
November of 2012, also were furnished to these Counselors, and these events of
Unlawful Entry, and Seizure of Properties have continued to go Un-Checked as a
matter of United States Constitutional Law, as well as State Of Louisiana

Constitational Law.

12) Appellant Jones has further learned that the Property may have went to an
Unlawful Sale, and this is blatantly unacceptable as a matter of Constitutional

Law, both United States, and Louisiana .

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DONALD G. JONES VS. FlRST BANK & TRUST CO.-TRO & INJIH\ICI'ION-DAMAGES OVER M.BILLION~
NUI`ICE OF REMAND IN CASE DOCKE'I` FlRST BANK & TRUST CO. VS. REBECCA B. DUWELL & DONALD G.
JONES CASE DOCKETS NO. 2008-5783-1'1-122009-5777-116 & Z-lTll JDC DOCKE'I` NO. 660026~1)“' B

13) Appellant Jones learned of these events from a Notice l received in the mail here
in Georgia, at my Legal domiciliary, 302 Plantation Circle Fayetteville, Ga.
30214, form Quick Recovery Auto Salvage ( see enclosed Notices irl Appendix -

DGJ-2006 DODGE-FBT-QUICK UNLAWFUL. SEIZURE NO. l )

14) Appellant J ones was sent the Notice Of Final Date to Make arrangements to
recover vehicle From Quick Recovery Auto Salvage on February 22, 2010 and
has been given an unlawful Filieen { 15 ) days to pick up the vehicle, which

would be until March 8, 2010.

15) Appellant Jones also Noticed that Mr. Brian Schweda of Quick Recovery Auto
Salvage makes mention of the Engine not running, which indicates the vehicle
has been unlawlirlly entered into. lt must also be noted thatl the owner of the
vehicle have the only Key to turn the engine, and as such , I do not understand

how this brand new truck has engine trouble.

APPELLANT ]ONES RESPECTFULLY SUBMIT FOR MOST HONORABLE LA.SUPREME
COURT TO CONSlDER TI-[E WISDOM OF OUR UNITED STATES JUS'I`ICES ]N THE
CASE OF FUENTES VS. SI-IEVIN ( 70-5039-SECTION IV-PAGE 4 OF 15 ) IN
CONS]DERING WI-[E,TI~[ER TO GRANT APPPELLAN'I` JONES CONSTITUTlONAL

RIGHTS TO AN EXPEDITED EMERGENCY STAY

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DONALD G. JONES VS. FIRST BANK & TRUST CO.-TRO & lNJUNC‘I'lON-DAMAGES OVER $4.BILLION-
NO'I'ICE OF REMAND IN CASE DOCKET FIRS'I` B.ANK & TRUST CO. VS. REBECCA B. DUWELL & DONALD G.
JONES CASE DOCKETS NO. 2008-5783-|:[-12!2|)09-5777-15 & 24m .II)C DOCKET NO. 660026-DIV B

IV

FOR MORE THAN A CENTURY, the central meaning of procedural Due Process has
been clear:” parties whose rights are to be affected are entitled to be heard; and in
order that they may enjoy the right they must first BE NOTIFIED. “ BALDWIN V.
HALE, l WALL,223, 233, SEE WlNDSOR V. McVEIGl;L 93 U. S. 274‘, HOVEY V. ELLIOT'I`,
167 U. S. 409; GRANNIS V. ORDE.AN. 234 U. S. 385. lt is equally fundamental that the

right to N()TICE AND AN OPPORTUNITY TO BE ]E[EARD “ “must be gfrmte ” at a

meanin time and n a meanin I manner “Armsrron v. Manzo 380 U. S. 545 552.

The primary question in the present cases ( Fuentes v. Shevin- as well as Donald G. Jones vs.
First Bank & Trust-2010-C-0254 & 2010-C-0254-emphasis added ) is whether these statutes (
which includes Louisiana’s Executory Process emphasis added ) are constitutionally defective
in failin to rovide for hearin “ at a meanin ul time. “ The Flcrida replevin process
gparantees an oppprtunig for a hearing after the seizure of goods, and the Pennsylvania
process allows a post-seizure hearing if the aggrieved party shoulders the burden of initiating one.
But neither the Florida nor the Pennsylvania statute provides for Notice or an Op@rtunit£ to he

heard before the seizure The issue is whether procedural due process in the context of those

cases g_'_e_gnim an opportunity far a hearing before the State authorizes its gg§nts to seize
proper_ty in the Uession of a Urson upon the application of another.

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DONALD G. JONES VS. FlRSl` BANK & TRUST CO.-TRO & lNJUNCTION-DAMAGES OVER $‘LBlLLlON-
NOT]CE OF R.EMAND lN CASE DOCKET Fl.RST BANK & TRUST CO. VS. REBECCA B. DUW'ELL & DONALD G.
JONES CASE DOCKE'I`S NO. 2008-5783-1-1-12/2[|09-5777-1,6 & 24m JDC DOCKET NO. 660026-1)“' B

The Constitutional right to be heard is a basic aspect of the duty of government to follow a fair
process of decision making when it acts to deprive a person of his/her ( Donald G. Jones and/or
Rebecca B. Duwell ) possessions The Purpose of this requirement is not 1 p 81] only to ensure
abstract fair play to the individual. Its purpose, more particularly, is to protect his use, and
possession of property from arbitrary encroachment_to minimize Substantively unfair or
mistaken deprivations of property, a danger that is especially great when the State seizes goods
simply upon the application of and for the benefit of a private party. So viewed, the prohibition
against the deprivation of property without Due Process of Law reflects the high value, embedded
in Our Constitutional and Political History, that we place a person’s right to enjoy what is his/her
( Donald G. Jones and Rebecca B. Duwell ), free of governmental interference See Lynch v.

Household Finance Corp, 405 U. S. 538, 552.

The requirement of Notice and An Opportunity to be heard raises no impenetrable barrier
to the taking of a Person’s ( Donald G. Jones and Rebecca B. Duwell ) possessions But
the Fair Process of Decision Making that it guarantees works, by itself, to protect against

arbitrary deprivation of property.

“ for when a gunn has an Qmprtnngg' to Speak Up in his/her f Donald G. Jones and Rebecca
B. Duwell l own defensel and when the State must listen to what hdshe has to sn_g,

substantively nn[nz'r, and simply mistaken deprivations of prop_er_'t_p imerests can be prevented
It has long been recogM that “

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DONALD G. JONES VS. FIRSI` BANK & TRUST CO.-TRO & INJlIl`lC'I`ION-DAMAGES OVER 543le-
NOTICE OF R.EMAND lN CASE DOCKET FIRS'I` BANK & TRUST CO. VS. REBECCA B. DUWELL & DONALD G.
JONES CASE DOCKE'I`S NO. 2008-5733~1{-12/2009-5777-1£ & 24'“] JDC DOCKET NO. 660026-DIV B

Fairness can rarely be obtained by seeret, one-sided determination of facts decisive of
rights.... [And n ] o better instrument has been devised for arriving at truth than to give a
person ( Douald G. Jones and Rebecca B. Duwell ) in jeopardy of serious loss Notice of the

case against himfher an opportunity to meet it.

Joint Ant-fascist refugee Committee v. McGrath, 341, U. S. 123, 170, 172 ( Frankiinter, J.,
concurring ).
If the right to Notice and a l-Iearing is to serve its full pul_'@sel then, it is clear that it must be

granted at a time when the deprivation can Still be Prevented. At a later hearin_g, an
Individual’s § Donald G. Jones and Rebecea B. Duwell 1 possessions can be returned to

himfher if they were unfairiy or mistakenly taken in the first plaee. Darnages may even be [ p82 ]
awarded to him/her for the wrongfill deprivation But no later hearing and no damage award can
undo the fact that the arbitrary taking that was subject to the right of Procedural Due Process

has already occurred. This § Our United States Supreme Co\_lrt) has not el_ubraced the
general proBition that wron_g may be done if it cap de undon_e. “ Sta_nlev v. Iliinois, 405 U.

 

S. 645, 647.

This is no new principle of Constitutional Law. The right to a prior heating has long

been recognized by this Court ( Our United States Supreme Court) under the Fourteenth
( 14“1) and Fiah ( 5*1‘) ash Amendmems. Although the conn held that due process
tolerates variances in the form of a hearing “ appropriate to the nature of the case, “

Mullane v. Central Hanover Tr. Co. 339 U. S. 306, 313, and “ depending upon the

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DONALD G. JONES VS. FIRST BANK & TRUST CO.-’I`RO & INJU'NC'I'ION-DAMAGES OVER $4.BILLION-
NOTICE OF REMAND lN CASE DOCKE'I` FIRST BANK & TRUST CO. VS. REBECCA B. DUWELL & DONALD G.
JONES CASE D()CKETS NO. 2008-5783-H-lm009-5777-L6 & 24“‘ JDC DO(H(ET N(). 660026-DIV B

importance of the interests involved and the nature of the subsequent proceedings [ if
any]. Boddie v. Connecticut, 401 U. S. 371, 378, the Court has traditionally insisted that,
whatever its form, opportunity for that hearing must be provided before the deprivation at
issue takes its form, opportunity for that hearing must be provided before the deprivation
at_ issue takes effect E. g. Bell v. Burson, 402 U. S. 535, 542; Wiseonsiu v.
Constantineau, 400 U. S. 433, 437; Goldberg v. Kelly, 397 U. S. 254; Armstrong v.
Manzo, 380 U. S. at 551; Mullane v. Centrai Hanover Tr. Co. supra, at 313; Opp Cotton
Mills v. Administrator, 312 U. S. 126, 152153; United States v. Illinois Central r. oo. ,
291 U. S. 457, 463; Londoner v. City & County of Denver, 210 U. S. 373, 385-386. See

In re Rutfalo, 390 U. S. 544_, 550-551

That the hearing required by due process is subject to waiver, and is not fixed in form
does not affect its root requirement that an individual be given an opportunity for a hearing before
hefshe is deprived of any significant property interest, except for extraordinary situations where
some valid governmental interest is at stake that justifies postponing the hearing until after the

event.

Boddie v. Connecticut, supra at 379-379 ( emphasis in original ) [ 1183 ].

F[NALLY OUR MOST H()NORABLE LA. SUPREME COURT JUSI'I`CES APPELLANT
.IONES PRAYS 'I`HAT SECTION “ VII “ BE GIVEN 'I`]E[E SACREL) WISDOM WHICI:I

OUR MOST HONORABLE SU'PREN[E COURT HAS SWORN TO UPHOLD

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DONALD G. JONES VS. FIRS'I` BANK & TRUST CO.-'I'RO dc lNJl}'NCI'ION-DAMAGES OVER $4.1!|]..LION-
NOTICE OF REMAND IN CASE DOCI{ET FIRST BANK & TRUST CO. VS. REBECCA B. DUWELL & D()NALD G.
JONES CASE DOCK.ETS NO. 2“]8-5783~11~1?3009-5777-1»6 & 241-n JDC DOCKET NO. 660026-DIV B

F]NALLY, WE ( Our United Stath Supreme Court as well as Our Most Honorahle
louisiana Supreme Court ) must consider the contention that the appellants who signed
conditional sales contracts thereby waived their ( Donald G. Jones and Rebecca B. Duwell )
basic Procedural Due Process g'ghts. The contract signed by Mrs. Fnentes provided that, “ IN
the event of default of any payment or payments, Seller ( Lender-First Bank &. Trust in this Legal
analysis ) at its option may take back the merchandise ( repossess the Alleged Collateral ) “
The Cont:racts signed by the Pennsylvania appellants similarly provided that the Seller ( Lender in
this Case ] may retake “ ( Seize and Sell at Sheriff Sale in this Case )the merchandise in the
event of a “ default in any payment “. These terms were parts of printed form contracts, appearing

in relatively small type and unaccompanied by any explanations clarifying their meaning

M Oven_pyg_g' Co. v. Fricl; Co=_, 405 U. S. 174, the Court recently outlined the
considerations relevant to determination of a contractual waiver of Due Process rights.
Applying the standards governing waive of Constitutional Rights in a criminal
proceeding [ n31]~a]though not holding that such standards must necessarily apply--- the
Court held that, on the particular facts of the case, the contractual waiver of Due Process [
p95 ] rights was Voluntarily, intelligently, and knowingly “ made. Id at 187. The contract
in Overmycr was negotiated between two eorporations; the waiver provision was
specifically bargained for, and drafted by their lawyers in the process of these

negotiations

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DONALD G. JONES VS. FIRST BANK & TRUST CO.-TRO & mJUNCI'ION-DAMAGES OVER S¢LB|LLION-
NUI'ICE OF REMAND IN CASE DOCKET F[RST BANK & TRUST CO. VS. REBECCA B. DUWELL & DONALD G.
JONES CASE DOCKETS N(). 2003-5783-H-12!2009-5777-M & 24“' .IDC DOCKEI` NO. 660026-[)“’ B

As the Court noted, it was “ Note “ a case of UNEQUAL BARGAINING POWER OF
OVERERACHING. The 0vermyer-Frick agreement from the start, was not a contract of

adhesion, “ Id. At 186. Both parties were aware of the significance ofthe waiver provision Ibid.

The facts of the present case ( including Donald G. Jones and Rebecca B. Duwell-LSC NO. 2010-
c-0254 & 2010~€-0257 ) are a far cry from those Overmyer. Therc was no bargaining over
contractual terms between the parties who, in the event, were far from equal in bargaining power
The purported waiver provision was a printed part of a Form Sales ( In this Case Alleged
Mortgage Agreement) contract and a necessary condition of the sale ( alleged Loan ). Te
appellees made no showing whatever that the appellants were actually aware or made aware of

the Significance of he fmc print now relied upon as a waiver of Constitutional Rights.

T]E[E COURT IN OVERMYER OBSERVED 'I`I~IA'I`l

WHEN TI'IE CONTRACT IS ONE ()F Al)lE[ESIONl WHERE THERE IS GREAT

dis ari m 'nin wer and where the debtor receives notbin for the waiver

provisicn, other l§gal cogMuences may ensue.

SECTION VIII

[ D ] UE PROCESS IS AFFORDED ONLY BY THE K[ND OF “ Notice “ and “ Hearing “ that
are aimed at establishing the validity, or at least the probable validity, of the underlining claim
against the alleged debtor ( Donald G. Jones and Rebecca B. Duwell ) before he/She can be

deprived of his/her property. . .

Page-61-civil complaint/dgj!fbt/erafquickltrc!injunc/damages over $22,320,000.00USEDL/03!09/'2010

 

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DONALD G. JONES VS. FIRSI` BANK & TRUST CO.-TRO & lNJUNC'I'ION-DAMAGES OVER $4.BILLION-
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Sniadach v. d Family finance Corp. supra, at 343 ( Harlan, J. , concurring ) See Bel] v. Burson,

supra, at 540; Goldberg v. Kelly, supra, at 267

For the foregoing reasons, the judgments of he District Courts are vacated, and these cases are

remanded for further proceedings consistent with this opinion.

Wherefore Appellant .l ones PRAYS OUR MOST HONORABLE LOUISIANA SUPREl\'[E

 

COURT issue an Immediate Eme!gency Stay., and Order remandigg the Prcperties back
into the hands of their g'glltful Owner, name!y; Douald G. Jones.

Ros|gt_fully Submit|aed To The Pleasure of Our Mcst Honorahle Louisiana Supreme Court.

l l .

N G. JoNEs PELLANT rko ss
302 PLANTATIoN ClnCLE
FAYETTEV!LLE, GA. 3021-l
504-339~3052
MQM\M'L

I CERT[FY l l:lAVE PLACED A COFY OF TH.ESE PROCEEDINGS IN U. S. MAIL POSTAGE PREPA[D

THIS 4m DAY OF MARC]:I, 2010 TO ALL ATI`ORNEY S OF RECORD.

PARTIES TO THESE PROCEEDINGS ARE:

MR. MARK C. LANDRY, ESQ.

ATTORNEY FOR FlRST BANK & TRUST
212 VETERANS HWY.
METAIRIE, LA. 70005

HONORABLE ORLEANS PARISH ClVlL SHERIFF PAUL R. VALTEAU

421 LOYOLA AVE.-SU]TE 403

N.O., l_.A. 701 12

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NOTICE OF REMAND IN CASE DOCKET FIRST BANK & TRUST CO. VS. REBECCA B. DUWELL & DONALD G.
JONES CASE DOCKETS NO. 2008-5783-|{-11!`2009-5777-1§ & him .IDC DOCKET NO. 660026-D1V B

I'[ONORABLE OR.LEANS PARISH CLERK OF ClV]L DISTRICT COURT DALE ATKI.NS
421 LO`YOLA AVE.-SUITE 402

NEW ORLEANS, LA. 701 12

REBECCA B. DUWELL LA. OFFICE OF FINANCIAL ]NSTITUTIONS
THROUGH
110 KETI`ER]NG TRACE LA. A']'TORNEY GENERAL’S OFFICE
TYRONE, GA. 30290 1885 SRD ST.
PRIVATE LISTING PHONE # BA'I`ON ROUGE, LA. 70802

225-925-4660

LA. OFFICE OF FINANCIAL INSTITUTIONS
HON. COMMISSIONER OF OFFICE OF FlNANClAL lNSTITUTIONS
8660 UNITEI) PLAZA BLVD.-ZND FLOOR

BATON ROUGE, LA. 70804

225-925-9660

HoN. cpc Jones MADELlNE LANDRIEU GovEnNoR or run GREAT sTATE
DUTY JUDGE ron nrv. “ L “ 6 oN .mNn 4, 2009 or LoUlslANA THRoUGH AGENT
421 LovoLA Avs. ron sEvaca or Pnocnss HoN. LA.
NEW ORLEANS, LA. 70112 AT'I’Y. GEN. JAMES D. “ BUDDY “ CALDWELL
504.592-9100 1885 3“” sT.

BATON ROUGE, LA. 70802

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JONES CASE DOCKETS NO. 2008-5733'|;[-1'2!2009-577'7»116 & 24“{ JDC DOCKET NO. 660026-DIV B

CERTIFICATE OF SERVICE

I CERTIFY THAT I HAVE MAILED A COPY OF THIS APPLICATION POR APPEAL &.
WRIT OF CERTIORARI BEFORE THE l-ION. LOUISIANA. SUPREME COURT, FOR 'I`HE
STATE OF LOUlSIANA, TO ALL PARTlES IN THESE PROCEED[NGS, LSC CASE

DOCKET NO. 2010-C-0257 & 2010-C-0254, TH[S 4TH DAY OF MARCH, 2010.

adding ~')>..» c~'

DONALD G. JONES “ PRO SE “
302 PLANTATION CIRCLE
RIVERDALE, GA. 30214
504-339-8052

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N[EMORANDUM IN SUPPORT OF EMERGENCY STAY TO L_A. SUPRE_ME COURT

LOUISIANA SUPREME COURT

FIRST BANK & TRUST, ET AL LSC DOCKET NO: 2010-C-0257 & 2010-C-0254

VS.
REBECCA B. DUWELL & DONALD G. JONES WRI'I` NO: LA 4CA-2009-C-1545 & 1355

DONALD G. JONES!CO-DEFENDANT/APPELLANT

 

MEMORANDUM lN SUPPORT OF LSC RULE X SECTlON ( 2 ) ( e ) EMERGENCY
MOTION TO ISSUE ORDER OF STAY AND THE RELEASING OF APPELLANT JONES

Pagc-M~civil complaiutjdgj/fhtlerafquick/troi`iujuuddaluages over $22,320,000.00USEDL/03/09/2010

